20-12345-scc        Doc 1012        Filed 03/15/22 Entered 03/15/22 21:02:24                    Main Document
                                                Pg 1 of 78



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                         ) Case No. 20-12345 (SCC)
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor.1                    )
                                                               )


               FOURTH INTERIM APPLICATION FOR ALLOWANCE OF
              COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
             BERKELEY RESEARCH GROUP, LLC AS FINANCIAL ADVISOR
         FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH JANUARY 31, 2022

    Name of Applicant:                                   Berkeley Research Group, LLC (“BRG”)

    Authorized to Provide Professional Services          The Official Committee of Unsecured Creditors
    to:                                                  (the “Committee”)
    Date of Retention:                                   December 9, 2020 Effective as of October 29,
                                                         2020 [Docket No. 246]
    Period for which Compensation and                    October 1, 2021 through January 31, 20222
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,             $358,313.00
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought               $0.00
    as Actual, Reasonable and Necessary:


This is a:           Monthly          x Interim           Final Application.




1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, PO Box
9023, Rockville Centre, NY 11571-9023.
2
  The applicant reserves the right to include any time expended and expenses incurred in the period indicated above
   in future application(s) if it is not included herein.
                  20-12345-scc        Doc 1012   Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                                             Pg 2 of 78



                                                               Schedule 1

                                                       Prior Applications Filed

Date Filed    Period      Requested      Requested     Order         Approved        Approved     Paid          Paid        Total
Docket No.    Covered     Fees           Expenses                    Fees            Expenses     Fees          Expenses    Unpaid
3/17/21       10/1/20 –                                4/16/21
                           $36,026.00        $25.32                     $36,026.00      $25.32     $36,026.00      $25.32        $0.00
Dkt No. 412   1/31/21                                  Dkt No.456
7/19/21       2/1/21 –
Dkt No. 620               $211,248.50      $1,734.62 8/23/21           $211,248.50    $1,734.62   $211,248.50   $1,734.62        $0.00
              5/31/21                                Dkt No. 699
11/15/21      6/1/21 –
Dkt No. 851               $453,091.00          $0.00 12/9/21           $453,091.00       $0.00    $453,091.00       $0.00        $0.00
              9/30/21                                Dkt No. 908
Total                     $700,365.50      $1,759.94                   $700,365.50    $1,759.94   $700,365.50   $1,759.94       $ 0.00
20-12345-scc      Doc 1012    Filed 03/15/22 Entered 03/15/22 21:02:24          Main Document
                                          Pg 3 of 78



                                       Timekeeper Summary

                                                        Hourly     Total
                                                                                   Total
      Professional                   Position           Billing    Hours
                                                                                Compensation
                                                         Rate      Billed
 Charles Lundelius        Managing Director               $1,100          2.7       $2,970.00
                                                            $810        16.1       $13,041.00
 Jennifer Hull            Managing Director
                                                            $750        12.2        $9,150.00
                                                            $750        22.0       $16,500.00
 Eric Madsen              Managing Director
                                                            $695         5.4        $3,753.00
                                                            $765         8.9        $6,808.50
 Paul Shields             Managing Director
                                                            $750         0.9          $675.00
                                                            $735        46.3       $34,030.50
 Ray Strong               Managing Director
                                                            $705       135.3       $95,386.50
                                                            $675         5.9        $3,982.50
 Matthew Babcock          Director
                                                            $655        11.4        $7,467.00
 Jeffrey Shaw             Senior Managing Consultant        $565         2.4        $1,356.00
                                                            $465         3.0        $1,395.00
 Karl Schliep             Senior Managing Consultant
                                                            $435         1.0          $435.00
 Amanda Marigliano        Senior Managing Consultant        $400          9.1       $3,640.00
                          Managing Consultant               $440         3.0        $1,320.00
 Kaley Johns
                          Consultant                        $380         7.0        $2,660.00
                                                            $385        97.8       $37,653.00
 Christina Tergevorkian   Consultant
                                                            $355       266.9       $94,749.50
 Amy Strong               Consultant                        $350        24.2        $8,470.00
 Alexxi Arena             Senior Associate                  $350          2.6         $910.00
 Quinn Burnett            Senior Associate                  $330        15.9        $5,247.00
                                                            $330         5.9        $1,947.00
 Shelby Chaffos           Senior Associate
                                                            $300         4.7        $1,410.00
 Tasha Hatton             Associate                         $265          2.9         $768.50
 Meagan Haverkamp         Case Assistant                    $275         0.9          $247.50
 Hannah Henritzy          Case Assistant                    $155        15.1        $2,340.50
                                                Total                  729.5      $358,313.00
                                         Blended Rate   $491.18
20-12345-scc     Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24       Main Document
                                           Pg 4 of 78



                                   Compensation by Category

   Task
   Code        Project Category                                       Hours         Value
   200.20      Document / Data Analysis (Financial / Accounting)       24.6      $9,208.00
   200.90      Document / Data Analysis (Production Requests)          41.9     $21,629.50
               Debtors Operations / Monitoring (Monthly Operating
   220.00      Reports / Periodic Reporting)                            9.8      $4,010.50
   300.00      Asset Analysis (General - Debtors)                      41.7     $21,701.50
               Asset Analysis (General - Debtors Restricted /
   301.00      Identified Assets)                                       0.9        $346.50
   302.00      Asset Analysis (General - Related Non-Debtors)          71.3     $36,799.00
   310.00      Asset Analysis (Cash / Bank Accounts - Debtors)        148.8     $66,339.00
               Asset Analysis (Investments / Funds - Related Non-
   322.00      Debtors)                                                15.0      $6,705.00
   330.00      Asset Analysis (Real Property - Debtors)                14.8      $5,806.50
               Asset Analysis (Real Property - Related Non-
   332.00      Debtors)                                               171.2     $79,474.00
   350.00      Asset Analysis (Insurance - Debtors)                     6.2      $4,497.00
   352.00      Asset Analysis (Insurance - Debtors)                    55.0     $36,079.00
   390.00      Asset Analysis (Other - Debtors)                        42.0     $27,331.50
   600.00      Claims / Liability Analysis (General)                   32.2     $12,124.00
   1020.00     Meeting Preparation & Attendance                        25.6     $15,061.50
   1030.00     Mediation Preparation & Attendance                      10.1      $6,920.50
   1060.00     Fee Application Preparation & Hearing                   18.4      $4,280.00
                                                              Total   729.5    $358,313.00




                                                  4
20-12345-scc        Doc 1012        Filed 03/15/22 Entered 03/15/22 21:02:24                     Main Document
                                                Pg 5 of 78



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                   Debtor.1                     )
                                                                )

            FOURTH INTERIM APPLICATION FOR ALLOWANCE OF
           COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
          BERKELEY RESEARCH GROUP, LLC AS FINANCIAL ADVISOR
     FOR THE PERIOD FROM SEPTEMBER 1, 2021 THROUGH JANUARY 31, 2022

         Berkeley Research Group, LLC (“BRG”), financial advisor to the Official Committee of

Unsecured Creditors (the “Committee”) of above-captioned debtor (the “Debtor”), hereby submits

this Fourth Interim Fee Application (the “Fee Application”) for the period from October 1, 2021

through January 31, 2022 (the “Fee Period”) in accordance with the Order Authorizing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals dated November 4,

2020 [Docket No. 129] (the “Interim Compensation Order”), Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for

the Southern District of New York (the “Local Rules”), the Amended Guidelines for Fees and

Disbursements for Professionals in the Southern District of New York Bankruptcy Cases, effective

January 29, 2013 (together with the “Local Rules”, the “Local Guidelines”), the United States

Trustee Guidelines for Reviewing Applications for Compensation and Reimbursement of

Expenses Filed Under 11 U.S.C. §330, effective January 31, 1996 (the “U.S. Trustee Guidelines”),

and, under 11 U.S.C. §§331 and 105(a), this Court’s Order Authorizing and Approving the

Employment of Berkeley Research Group, LLC as Financial Advisor Effective as of October 29,


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, PO Box
9023, Rockville Centre, NY 11571-9023.
20-12345-scc     Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24         Main Document
                                           Pg 6 of 78



2020 [Docket No. 247] (the “Retention Order”). BRG requests an interim allowance of

compensation in the amount of $358,313.00 and actual and necessary expenses in the amount of

$0.00 for the Fee Period. In support of this Fee Application, BRG respectfully represents as

follows:

                                PRELIMINARY STATEMENT

       1.      During the Fee Period, BRG advised and assisted the Committee in fulfilling its

statutory obligations and duties to unsecured creditors and rendered services to the Committee in

accordance with its instructions and directions. By this Fee Application, BRG requests that the

Court authorize the interim allowance and payment of fees incurred by BRG during the Fee Period

in the total amount of $358,313.00 as compensation for services rendered to the Committee and

actual and necessary expenses incurred. During the Fee Period, BRG expended 729.5 hours at a

blended hourly rate of $491.18.

       2.      Attached hereto as Exhibit C is the schedule of BRG’s time records for the Fee

Period. These records include daily time logs describing the time spent by each BRG professional

in this Chapter 11 Case organized by task code and by date incurred.

       3.      By this Fee Application, BRG seeks interim allowance and payment of all

compensation for services rendered during the Fee Period.

                                  JURISDICTION AND VENUE

       4.      This Court has jurisdiction to hear and determine this Fee Application pursuant to

28 U.S.C. §§ 157 and 1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409. Sections 328(a), 330, and 1103(a) of the Bankruptcy Code and Bankruptcy Rule 2014 are

the statutory predicates for the relief sought by this Fee Application.




                                                  6
20-12345-scc     Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                           Pg 7 of 78



                                        BACKGROUND

       5.      On October 1, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code with the Bankruptcy Court for the Southern District

of New York. The Debtor is operating its business and managing its properties as debtor in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner

has been appointed in this case.

       6.      On October 16, 2020, the Office of the United States Trustee (the “UST”) appointed

the Committee pursuant to Section 1102 of the Bankruptcy Code. The Committee consists of nine

individuals who hold claims against the Debtor, including eight individuals who were sexually

abused as minors by perpetrators for whom the Debtor was responsible and one representative of

a minor with a civil rights claim against the Debtor.

       7.      Following the Committee’s appointment, the Committee determined it needed a

financial advisor and, subject to Court approval, hired BRG on October 29, 2020.

       8.      On November 20, 2020, the Committee filed The Official Committee of Unsecured

Creditors’ Application to Retain and Employ Berkeley Research Group, LLC as Financial Advisor

Effective as of October 29, 2020 [Docket No. 182] (the “Retention Application”). As set forth in

the Retention Application, the Committee selected BRG to provide the following services to the

Committee:

                       assisting the Committee in investigating the assets, liabilities and financial
                       condition of the Debtor or the Debtor’s operations and the desirability of
                       the continuance of any portion of those operations, including a review of
                       any donor restrictions on the Debtor’s assets;

                       assisting the Committee in the review of financial related disclosures
                       required by the Court and/or Bankruptcy Code, including the Schedules of
                       Assets and Liabilities, the Statement of Financial Affairs, and Monthly
                       Operating Reports;



                                                 7
20-12345-scc   Doc 1012   Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                      Pg 8 of 78



                   analyzing the Debtor’s accounting reports and financial statements to
                   assess the reasonableness of the Debtor’s financial disclosures;

                   providing forensic accounting and investigations with respect to transfers
                   of the Debtor’s assets and recovery of property of the estate;

                   assisting the Committee in evaluating the Debtor’s ownership interests of
                   property alleged to be held in trust by the Debtor for the benefit of third
                   parties and/or property alleged to be owned by non-debtor entities;

                   assisting the Committee in reviewing and evaluating any proposed asset
                   sales and / or and other asset dispositions;

                   assisting the Committee in the evaluation of the Debtor’s organizational
                   structure, including its relationship with the related Catholic non-debtor
                   organizations and parishes that may hold or have received property of the
                   estate;

                   assisting the Committee in evaluating the Debtor’s cash management
                   system, including unrestricted and restricted funds, deposit and loan
                   programs, and pooled income or investment funds;

                   assisting the Committee in the review of financial information that the
                   Debtor may distribute to creditors and others, including, but not limited to,
                   cash flow projections and budgets, cash receipt and disbursement
                   analyses, analyses of various asset and liability accounts, and analyses of
                   proposed transactions for which Court approval is sought;

                   attendance at meetings and assistance in discussions with the Debtor, the
                   Committee, the U.S. Trustee, and other parties in interest and
                   professionals hired by the above-noted parties as requested;

                   assisting in the review and/or preparation of information and analyses
                   necessary for the confirmation of a plan, or for the objection to any plan
                   filed in this Case which the Committee opposes;

                   assisting the Committee in its evaluation of the Debtor’s solvency;

                   assisting the Committee with the evaluation and analysis of claims, and on
                   any litigation matters, including, but not limited to, avoidance actions for
                   fraudulent conveyances and preferential transfers, and declaratory relief
                   actions concerning the property of the Debtor’s estate;

                   analyzing the flow of funds in and out of accounts the Debtor contends
                   contain assets held in trust for others, to determine whether the funds were
                   commingled with non-trust funds and lost their character as trust funds,
                   under applicable legal and accounting principles



                                             8
20-12345-scc    Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                          Pg 9 of 78



                      assisting the Committee with respect to any adversary proceedings that
                      may be filed in the Debtor’s Case and providing such other services to the
                      Committee as may be necessary in this Case.

       9.      On December 9, 2020, the Court entered the Retention Order. The Retention Order

provides that all compensation and reimbursement of costs and expenses incurred during BRG’s

employment be paid only after appropriate application and approval of this Court.

                      PROFESSIONAL FEES AND DISBURSMENTS

       10.     On March 17, 2021, BRG filed its First Interim Application for fees in the amount

of $36,026.00 and expenses in the amount $25.32 for the period covering October 1, 2020 through

January 31, 2021 [Docket No. 412].

       11.     On July 19, 2021, BRG filed its Second Interim Application for fees in the amount

of $211,248.50 and expenses in the amount of $1,734.62 for the period covering February 1, 2021

through May 31, 2021 [Docket No. 620].

       12.     On November 15, 2021, BRG filed its Third Interim Application for fees in the

amount of $453,091.00 and expenses in the amount of $0.00 for the period covering June 1, 2021

through September 30, 2021 [Docket No. 851].

       13.     By this Application, BRG seeks allowance of fees in the amount of $358,313.00

for professional services rendered for and on behalf of the Committee during the Fee Period. No

expenses were incurred during the Fee Period.

       14.     BRG charges for its services based on standard hourly rates established, subject to

periodic adjustments to reflect economic and other conditions. Billing rates are representative of

BRG’s normal rates for services of this kind and are competitive with other financial advisors.

BRG believes that the compensation in this Application is based on the customary compensation

charged by comparably skilled professionals in cases other than cases under Title 11.



                                                9
20-12345-scc     Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                          Pg 10 of 78



       15.     As noted in the Retention Application, “In the ordinary course of business, BRG

periodically revises its hourly rates to reflect promotions and other changes in personnel

responsibilities, increases in experience, and increases in the cost of doing business.” As of January

1, 2022, the hourly rates for certain staff increased. The new rates can be found in the Timekeeper

Summary above as well as in Exhibit C, attached hereto.

       16.     In addition, BRG bills for its actual, out-of-pocket expenses reasonably incurred in

connection with this engagement including, but not limited to, travel expenses incurred in

connection with the client’s engagement that would not have been otherwise incurred, and industry

or company specific research as requested. BRG does not charge for telephone calls (except the

cost of specifically identified conference call charges), faxes, copies, and other administrative

expenses.

       17.     BRG maintains contemporaneous records of the time expended and actual,

necessary expenses incurred in support of its billings. Time entries are recorded in six-minute

increments.

                           SUMMARY OF SERVICES RENDERED

       18.     BRG is a global strategic advisory and expert consulting firm that provides

independent expert testimony, litigation and regulatory support, authoritative studies, strategic

advice, advisory services relating to restructuring and turnaround situations, due diligence,

valuation, and capital markets, and document and data analytics to major law firms, businesses,

including Fortune 500 corporations, government agencies, and regulatory bodies around the world.

       19.     BRG has extensive experience in the areas of reorganization, workouts, insolvency,

and accounting. The professionals engaged in these cases have also worked in numerous Catholic

diocese bankruptcy cases throughout the country.



                                                 10
20-12345-scc     Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24            Main Document
                                         Pg 11 of 78



       20.     This bankruptcy case addresses issues that raise complex questions and requires a

high level of skill and expertise to efficiently and accurately address the same. The professional

services described herein were performed by BRG to, among other things, analyze and evaluate

the Debtor’s financial position and guide the Committee through the Debtor’s Chapter 11 case.

       21.     During the Fee Period, the Committee relied heavily on the experience and

expertise of BRG when dealing with the matters described herein. As a result, BRG devoted

significant time and effort to perform properly and expeditiously the required professional

services. BRG respectfully submits that the professional services that it rendered on behalf of the

Committee were necessary and have directly benefited the creditor constituents represented by the

Committee and have contributed to the effective administration of this case.

       22.     BRG submits that the interim fees applied for herein for professional services

rendered in performing services for the Committee in this proceeding are fair and reasonable in

view of the time spent, the extent of work performed, the nature of the Debtor’s capitalization

structure and financial condition, the Debtor’s financial accounting resources and the results

obtained.

       23.     The work involved, and thus the time expended, was carefully assigned in light of

the experience and expertise required for a particular task. The staff utilized sought to optimize

efficiencies and avoid redundant efforts. BRG believes that there has been no duplication of

services between BRG and any other consultants or accountants to the bankruptcy estate.

       24.     No agreement or understanding exists between BRG and any other person for the

sharing of compensation received or to be received for services rendered in connection with the

chapter 11 cases, except for internal agreements among employees of BRG regarding the sharing

of revenue or compensation. Neither BRG nor any of its employees has entered into an agreement



                                                11
20-12345-scc     Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                         Pg 12 of 78



or understanding to share compensation with any entity as described in Bankruptcy Code Section

504 and Bankruptcy Rule 2016.

       25.      The general summary of the services rendered by BRG during the Fee Period, based

on tasks and number of hours is set forth below.

                 200.20 – Document / Data Analysis (Financial / Accounting)

       26.      During the Fee Period, BRG assisted the Committee in analyzing historical

financial data provided by the Debtor for the Diocese Administrative Offices, Protected Self

Insurance Program (“PSIP”), Diocesan benefit programs, and various related affiliates including,

but not limited to, Ecclesia Assurance Company, Unitas Investment Fund, Catholic

Cemeteries/Permanent Maintenance Trust, Department of Education, Catholic Foundation of

Long Island, Catholic Faith Network, Telecare, Catholic Charities, Diocesan Services, Catholic

Press Association, and Tomorrow’s Hope Foundation. This information was necessary to the

furtherance of ongoing asset analyses, analysis of claims, identification of avoidance actions, and

responsiveness to document production requests.

       27.      BRG has expended 24.6 hours on this category for a fee of $9,208.00.

                  200.90 – Document / Data Analysis (Production Requests)

       28.      BRG continued to assist the Committee in preparing document requests, reviewing

document productions from the Debtor, and following up with the Debtor regarding incomplete or

nonresponsive productions. BRG analyzed document productions received from the Debtor to

determine responsivity, documents requiring further analysis, identify additional requests resulting

from productions, and concurrently updated document production indexes in order to

track/monitor the status of outstanding document production requests. Additionally, BRG

corresponded with UCC Counsel, as well as the Debtor’s advisors regarding document production

and requests.

                                                12
20-12345-scc     Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                          Pg 13 of 78



       29.     BRG has expended 41.9 hours on this category for a fee of $21,629.50.

     220.00 – Bankruptcy Proceedings (Monthly Operating Reports / Periodic Reports)

       30.     BRG analyzed monthly operating reports prepared by the Debtor and related ending

bank account balances for the months from September 2020 through December 2021 to monitor

ongoing post-petition activities of the Debtor and report results to UCC Counsel. Time was also

spent meeting with UCC Counsel, Debtor’s advisors, and other BRG team members regarding the

financial reporting and cash flow activity included in the MORS.

       31.     BRG has expended 9.8 hours on this category for a fee of $4,010.50.

                          300.00 – Asset Analysis (General - Debtors)

       32.     During the Fee Period, BRG continued to analyze document productions, financial

statements, bank records, and accounting system data received from the Debtor in relation to the

broad range of ongoing asset analyses of the Diocese administrative office, related insurance and

benefit programs, and related affiliates, as well as analyzing and evaluating the historical audit

work papers obtained from the Debtor’s and its related affiliate’s auditors in preparation for further

analysis and investigation.

       33.     BRG has expended 41.7 hours on this category for a fee of $21,701.50.

          301.00 – Asset Analysis (General - Debtors Restricted / Identified Assets)

       34.     BRG evaluated schedules and supporting documents produced by the Debtor

related to restricted assets inquiries to understand information provided.

       35.     BRG has expended 0.9 hours on this category for a fee of $346.50.

                   302.00 – Asset Analysis (General – Related Non-Debtors)

       36.     BRG analyzed the IAC documentation, financial statements and trial balances

(including assets detailed therein), audit work papers, bank statements, and agreements of the non-

Debtor affiliates for the years 2006 through 2020, including identifying available assets, evaluating

                                                 13
20-12345-scc     Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                         Pg 14 of 78



fund flows and underlying transactions, and identifying additional documentation/data relating to

the various ongoing asset analyses and workstreams for various Parishes and related affiliates

including Department of Education, Ecclesia Assurance Company, Unitas Investment Fund,

Catholic Faith Network/Telecare, Mission Assistance Corporation, Catholic Charities, Catholic

Cemeteries/Permanent Maintenance Trust. Additional time was spent developing analyses to share

with UCC Counsel and the Committee as well as participating in meetings with UCC Counsel and

team members regarding the same.

       37.     BRG has expended 71.3 hours on this category for a fee of $36,799.00.

                  310.00 – Asset Analysis (Cash / Bank Accounts - Debtors)

       38.     BRG spent considerable time evaluating and analyzing the bank account activity of

the Debtor in support of its ongoing asset and avoidance action analyses. Specifically, BRG

analyzed the general ledger and bank statement transaction activity for various Debtor bank

accounts to evaluate historical trends, flow of funds, and to assist in the identification and

evaluation of potential assets available to the Debtor’s creditors. In addition, BRG updated the

existing bank account analysis with supplemental information obtained from the Debtor. BRG also

continued to examine the bank account statements and information received from the Debtor for

pertinent information responsive to prior requests, the development additional data queries, and

identification of information requiring further analysis. Time was also spent discussing the BRG’s

ongoing cash analysis with UCC Counsel and other BRG personnel.

       39.     BRG has expended 148.8 hours on this category for a fee of $66,339.00.

             322.00 – Asset Analysis (Investments / Funds - Related Non-Debtors)

       40.     During the Fee Period, BRG examined and analyzed Parish and Unitas Investment

Fund documentation and transaction activity provided by the Debtor and further identified missing

documentation and additional request for its ongoing asset analyses.

                                               14
20-12345-scc    Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                          Pg 15 of 78



       41.     BRG has expended 15.0 hours on this category for a fee of $6,705.00.

                      330.00 – Asset Analysis (Real Property – Debtors)

       42.     BRG spent time during the Fee Period identifying and following up on Debtor-

owned properties in Nassau and Suffolk counties to assist in the evaluation of potential assets

available to the Debtor’s creditors. BRG spent further time analyzing market value estimates, tax

assessments, and other assessor data for Diocese properties across various townships. BRG

updated its real estate analysis and met with BRG personnel on the same in preparation for the

meetings with the Committee.

       43.     BRG has expended 14.8 hours on this category for a fee of $5,806.50.

               332.00 – Asset Analysis (Real Property – Related Non-Debtors)

       44.     During the Fee Period, BRG analyzed county/township assessor documentation for

over 350 properties, compared tax-exempt filing documentation provided by the Debtor with

various other real estate schedules obtained from the Diocese, produced documentation, and third-

parties. BRG also evaluated the terms of various proposed lease agreements provided by the

Debtor and UCC Counsel pursuant to noticing procedures agreed upon by the parties. Further time

was spent analyzing financial data provided by the Debtor for Catholic Cemeteries including

financial statements and cemetery valuation documents relating to the transfer of real estate. Time

was also spent in discussions with BRG personnel and UCC Counsel thereon.

       45.     BRG has expended 171.2 hours on this category for a fee of $79,474.00.

                        350.00 – Asset Analysis (Insurance - Debtors)

       46.     BRG analyzed prepetition and post-petition balance sheets activity from 2015

through October 2021 for the Diocese asset analysis relating to the PSIP self-insurance program.

       47.     BRG has expended 6.2 hours on this category for a fee of $4,497.00.



                                                15
20-12345-scc    Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24            Main Document
                                         Pg 16 of 78



                 352.00 – Asset Analysis (Insurance – Related Non-Debtors)

       48.     BRG spent time during the Fee Period analyzing considerable volumes of

documents pertaining to Ecclesia Assurance Company, specifically audited financial statements,

premiums, reserves and estimated losses, and other case materials. Additional time was spent

developing an asset analysis, evaluation of reserves/equity, and other materials for UCC Counsel

and the Committee.

       49.     BRG has expended 55.0 hours on this category for a fee of $36,079.00.

                          390.00 – Asset Analysis (Other – Debtors)

       50.     During the Fee Period, BRG analyzed spectrum licenses and associated leases of

the Debtor. The analyses included the evaluation of documentation/data provided by the Diocese

and obtained from other public third party sources. BRG also investigated valuation issues relating

to the licenses/leases and Tower income including the analysis of cash flows, revenue sources,

operating costs. BRG spent further time meeting with UCC Counsel as well as representatives

from Debtor and Catholic Faith Network regarding the spectrum and tower income, costs, assets,

liabilities, and addressed next steps for CFN personnel.

       51.     BRG has expended 42.0 hours on this category for a fee of $27,331.50.

                        600.00 – Claims / Liability Analysis (General)

       52.     During the Fee Period, BRG analyzed claims/lawsuits data relating to Parishes and

schools and compared results with assets Parish assets. BRG also updated initial claims analysis

with updated documentation/data received.

       53.     BRG has expended 32.2 hours on this category for a fee of $12,124.00.




                                                16
20-12345-scc      Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                          Pg 17 of 78



                          1020.00 – Meeting Preparation & Attendance

       54.       During the Fee Period, BRG participated in various meetings and conference calls

with UCC Counsel and/or other BRG personnel regarding case issues, workstreams, and

assignments.

       55.       BRG has expended 25.6 hours on this category for a fee of $15,061.50.

                         1030.00 – Mediation Preparation & Attendance

       56.       BRG met with UCC Counsel and BRG personnel to discuss mediation issues

including ongoing asset analyses in preparation for the initial session with the Mediator. Time was

also spent attending the pre-mediation session with the Mediator, UCC Counsel, and insurance

professionals.

       57.       BRG has expended 10.1 hours on this category for a fee of $6,920.50.

                       1060.00 – Fee Application Preparation & Hearing

       58.       During the Fee Period, BRG prepared its Third Interim Fee Application for the

period covering June 1, 2021 through September 30, 2021.

       59.       BRG has expended 18.4 hours on this category for a fee of $4,280.00.

                             ALLOWANCE OF COMPENSATION

       60.       Section 330(a)(1)(A) of the Bankruptcy Code provides that the Court may award

to a professional person, “reasonable compensation for actual, necessary services rendered.” 11

U.S.C. § 330(a)(1)(A). Section 330(a)(3)(A), in turn, provides that in determining the amount of

reasonable compensation to be awarded, the Court shall consider the nature, the extent, and the

value of such services, taking into account all relevant factors, including:

                               The time spent on such services;

                               The rates charges for such services;



                                                 17
20-12345-scc     Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                         Pg 18 of 78



                              Whether the services were necessary to the administration of, or
                              beneficial at the time which the service was rendered toward the
                              completion of, a case under this title;

                              Whether the services were performed within a reasonable amount
                              of time commensurate with the complexity, importance, and nature
                              of the problem, issue, or task addressed; and

                              Whether the compensation is reasonable based on the customary
                              compensation charged by comparably skilled practitioners in cases
                              other than cases under this title.

       61.     The congressional policy expressed above provides for adequate compensation in

order to continue to attract qualified and competent professionals to bankruptcy cases. BRG

respectfully submits that the consideration of these factors should result in this Court’s allowance

of the full compensation sought.

                                       CERTIFICATION

       62.     As required by the Guidelines, a certification that the facts set forth in this

Application are true and correct, and that this Application complies substantially with the Local

Guidelines, is attached hereto as Exhibit A and made part of this Application.

                                            NOTICE

       63.     Pursuant to the Interim Compensation Order, BRG has provided notice of this Fee

Application upon the following parties by electronic or first class mail: (a) the Debtor c/o The

Roman Catholic Diocese of Rockville Centre, 50 North Park Ave P.O. Box 9023, Rockville

Center, NY 11571-9023 (Attn: Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250

Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and

Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee Region 2 (the “U.S.

Trustee”), 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara

Cornell, Esq.); and (d) all parties entitled to notice pursuant to Bankruptcy Rule 2002. The




                                                18
20-12345-scc      Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24          Main Document
                                           Pg 19 of 78



Committee submits that, in light of the nature of the relief requested, no other or further notice

need be given.

       64.       This is BRG’s fourth interim fee application pursuant to sections 330 and 331 of

the Bankruptcy Code for allowance of fees and reimbursement of expenses in this Chapter 11

Case. Except as otherwise set forth herein, BRG has made no prior or other application to this or

any other Court for the relief requested herein.

                                          CONCLUSION

       65.       BRG respectfully requests that the Court enter an order, substantially in the form

attached hereto as Exhibit B, (a) granting on an interim basis, allowance of (i) fees in the amount

of $358,313.00 for professional services rendered to and on behalf of the Committee during the

Fee Period and (ii) reimbursement of $0.00 for reasonable, actual and necessary expenses incurred

during the Fee Period, (b) authorizing and directing the Debtor to immediately pay to BRG the

outstanding fees and expenses due to BRG for the Fee Period; and (c) granting such further relief

as the Court may deem just and proper.




                                                   19
20-12345-scc   Doc 1012   Filed 03/15/22 Entered 03/15/22 21:02:24       Main Document
                                     Pg 20 of 78



 Date: March 15, 2022                PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ James I. Stang
                                     James I. Stang, Esq. (admitted pro hac vice)
                                     10100 Santa Monica, Boulevard, 11th Floor
                                     Los Angeles, California 90067
                                     Telephone:      (310) 277-6910
                                     Facsimile:     (310) 201-0760
                                     Email:         jstang@pszjlaw.com

                                     -and-

                                     Ilan D. Scharf, Esq.
                                     Karen B. Dine, Esq.
                                     Brittany M. Michael, Esq.
                                     780 Third Avenue, 36th Floor
                                     New York, New York 10017
                                     Telephone:      (212) 561-7700
                                     Facsimile:      (212) 561-7777
                                     Email:          kdine@pszjlaw.com
                                                    ischarf@pszjlaw.com
                                                    bmichael@pszjlaw.com

                                       Counsel for the Official Committee
                                       of Unsecured Creditors




                                        20
20-12345-scc   Doc 1012   Filed 03/15/22 Entered 03/15/22 21:02:24   Main Document
                                     Pg 21 of 78




                    EXHIBIT A
20-12345-scc    Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                         Pg 22 of 78



                                          Certification

               The undersigned, a Principal of BRG, certifies that except as otherwise noted

elsewhere:

               1.     He has read this Fee Application.

               2.     This Fee Application complies with the mandatory provisions of the

Guidelines;

               3.     The fees are billed in accordance with the billing practices described herein,

and except as otherwise indicated fall within the Guidelines; and

               4.     Except to the extent prohibited by the Guidelines, the fees sought herein

have been billed at rates and in accordance with practices customarily employed by BRG and

accepted by BRG’s clients.

               5.     BRG submits that this Fee Application is in compliance with Bankruptcy

Code sections 330 and 331, the Bankruptcy Rules, the Interim Compensation Order, and the

Guidelines.

Dated: March 14, 2022
     Salt Lake City, UT                                     _____________________________
                                                             D. Ray Strong




                                               21
20-12345-scc   Doc 1012   Filed 03/15/22 Entered 03/15/22 21:02:24   Main Document
                                     Pg 23 of 78




                    EXHIBIT B
20-12345-scc        Doc 1012        Filed 03/15/22 Entered 03/15/22 21:02:24                      Main Document
                                               Pg 24 of 78




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor.1                    )
                                                                )


                              ORDER GRANTING
               FOURTH INTERIM APPLICATION FOR ALLOWANCE OF
              COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
             BERKELEY RESEARCH GROUP, LLC AS FINANCIAL ADVISOR
         FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH JANUARY 31, 2022

                  Berkeley Research Group, LLC (“BRG”), financial advisor to the Official

Committee of Unsecured Creditors in the above-captioned case, filed its Fourth Interim

Application for Compensation for the Period from October 1, 2021 through January 31, 2022 (the

“Fee Application”). The Court has reviewed the Fee Application and finds that: (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Fee

Application, and any hearing on the Fee Application, was adequate under the circumstances; and

(c) all persons with standing have been afforded the opportunity to be heard on the Fee Application.

Accordingly, it is hereby

                  ORDERED that the Fee Application is GRANTED. The Debtor in the above case

shall pay to BRG interim fees in the total amount of $358,313.00 for services rendered and actual

and necessary expenses incurred in the Chapter 11 case during the Fee Period.




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.
20-12345-scc    Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                         Pg 25 of 78



               ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

Dated: ____________________, 2022
       New York, New York

                                             THE HONORABLE SHELLEY C. CHAPMAN
                                             U.S. BANKRUPTCY JUDGE




                                                2
20-12345-scc   Doc 1012   Filed 03/15/22 Entered 03/15/22 21:02:24   Main Document
                                     Pg 26 of 78




                    EXHIBIT C
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 27 of 78




James I Stang                                                                                          March 14, 2022
Pachulski Stang Ziehl & Jones                                                                            Client: 21145
10100 Santa Monica Blvd.                                                                     Matters: 034827 | 042179
13th Floor                                                                                           Invoice #: 129879
Los Angeles, CA 90067                                                                             Tax ID # XX-XXXXXXX

Via Email: jstang@pszjlaw.com



        Services Rendered From October 1, 2021 Through January 31, 2022


        RE: The Official Committee of Unsecured Creditors for the Roman Catholic
        Diocese of Rockville Centre, New York


                     Professional Services                                  $ 358,313.00      USD
                       CURRENT CHARGES                                      $ 358,313.00      USD




Please direct questions regarding this invoice to: Matthew Babcock at (801) 364-6233 or MBabcock@thinkbrg.com.

Please remit wire/ACH payment to:                                  Please remit check payment to:
Bank Name:       PNC BANK, N.A.                                    BERKELEY RESEARCH GROUP, LLC
SWIFT:           PNCCUS33                                          PO BOX 676158
ABA #:           031207607                                         DALLAS, TX 75267-6158
Account Name: BERKELEY RESEARCH GROUP, LLC
Account #:       8026286672                                        Please remit express/overnight payment to:
Reference:       129879                                            PNC BANK C/O BERKELEY RESEARCH GROUP, LLC
                                                                   LOCKBOX NUMBER 676158
Remittance advice to be sent to:                                   1200 E CAMPBELL RD, STE 108
remitadvice@thinkbrg.com                                           RICHARDSON, TX 75081

**Due to COVID-19, we are kindly requesting all payments to be made electronically.




                BRG Corporate Address: 2200 Powell Street - Suite 1200 | Emeryville, CA 94608
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24     Main Document
                                                Pg 28 of 78




To: James I Stang                                                                            Page 2 of 52
c/o: Pachulski Stang Ziehl & Jones                                                      Invoice # 129879
                                                                                           Client: 21145

Services Rendered From October 1, 2021 Through January 31, 2022

PROFESSIONAL SERVICES
                                                                     Rate    Hours             Amount
Managing Director
  Charles Lundelius                                               1,100.00     2.70           2,970.00
  Jennifer Hull                                                     810.00    16.10          13,041.00
  Jennifer Hull                                                     750.00    12.20           9,150.00
  Eric Madsen                                                       750.00    22.00          16,500.00
  Eric Madsen                                                       695.00     5.40           3,753.00
  Paul Shields                                                      765.00     8.90           6,808.50
  Paul Shields                                                      750.00     0.90             675.00
  Ray Strong                                                        735.00    46.30          34,030.50
  Ray Strong                                                        705.00   135.30          95,386.50

Director
   Matthew Babcock                                                 675.00        5.90         3,982.50
   Matthew Babcock                                                 655.00       11.40         7,467.00

Senior Managing Consultant
   Jeffrey Shaw                                                    565.00        2.40         1,356.00
   Karl Schliep                                                    465.00        3.00         1,395.00
   Karl Schliep                                                    435.00        1.00           435.00
   Amanda Marigliano                                               400.00        9.10         3,640.00

Managing Consultant
  Kaley Johns                                                      440.00        3.00         1,320.00

Consultant
   Christina Tergevorkian                                          385.00     97.80          37,653.00
   Christina Tergevorkian                                          355.00    266.90          94,749.50
   Kaley Johns                                                     380.00      7.00           2,660.00
   Amy Strong                                                      350.00     24.20           8,470.00

Senior Associate
   Alexxi L. Arena                                                 350.00        2.60           910.00
   Quinn Burnett                                                   330.00       15.90         5,247.00
   Shelby Chaffos                                                  330.00        5.90         1,947.00
   Shelby Chaffos                                                  300.00        4.70         1,410.00

Associate
   Tasha Hatton                                                    265.00        2.90           768.50

Case Assistant
   Meagan B. Haverkamp                                             275.00        0.90           247.50
   Hannah Henritzy                                                 155.00       15.10         2,340.50

Total Professional Services                                                  729.50         358,313.00
   20-12345-scc         Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24          Main Document
                                                 Pg 29 of 78




To: James I Stang                                                                                   Page 3 of 52
c/o: Pachulski Stang Ziehl & Jones                                                             Invoice # 129879
                                                                                                  Client: 21145

SUMMARY BY TASK CODE

 Task Code    Description                                                             Hours          Amount
  200.20      Document / Data Analysis (Financial / Accounting)                       24.60          9,208.00
  200.90      Document / Data Analysis (Production Requests)                          41.90         21,629.50
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
  220.00      Reporting)                                                                9.80         4,010.50
  300.00      Asset Analysis (General - Debtors)                                       41.70        21,701.50
  301.00      Asset Analysis (General - Debtors Restricted / Identified Assets)         0.90           346.50
  302.00      Asset Analysis (General - Related Non-Debtors)                           71.30        36,799.00
  310.00      Asset Analysis (Cash / Bank Accounts - Debtors)                         148.80        66,339.00
  322.00      Asset Analysis (Investments / Funds - Related Non-Debtors)               15.00         6,705.00
  330.00      Asset Analysis (Real Property - Debtors)                                 14.80         5,806.50
  332.00      Asset Analysis (Real Property - Related Non-Debtors)                    171.20        79,474.00
  350.00      Asset Analysis (Insurance - Debtors)                                      6.20         4,497.00
  352.00      Asset Analysis (Insurance - Related Non-Debtors)                         55.00        36,079.00
  390.00      Asset Analysis (Other - Debtors)                                         42.00        27,331.50
  600.00      Claims / Liability Analysis (General)                                    32.20        12,124.00
  1020.00     Meeting Preparation & Attendance                                         25.60        15,061.50
  1030.00     Mediation Preparation & Attendance                                       10.10         6,920.50
  1060.00     Fee Application Preparation & Hearing                                    18.40         4,280.00

Total Professional Services                                                           729.50       358,313.00
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                Pg 30 of 78




To: James I Stang                                                                                        Page 4 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Services Rendered From October 1, 2021 Through January 31, 2022

DETAIL OF PROFESSIONAL SERVICES

Date          Name                       Description                               Hours    Rate           Amount

Task Code: 200.20 - Document / Data Analysis (Financial / Accounting)
11/15/21     Amy Strong                 Met with BRG (RS) to discuss Diocese        0.20   350.00            70.00
                                        audited financial statement analysis.
11/15/21      Amy Strong                 Analyzed statement of financial            2.30   350.00           805.00
                                         position and statement of activities of
                                         the Administrative Offices of the
                                         Diocese of Rockville Centre for 1994 -
                                         1997.
11/15/21      Amy Strong                 Analyzed statement of financial            1.50   350.00           525.00
                                         position and statement of activities of
                                         the Administrative Offices of the
                                         Diocese of Rockville Centre for 1998 -
                                         1999.
11/15/21      Ray Strong                 Discussed analysis of additional           0.20   705.00           141.00
                                         audited financial statements produced
                                         by Diocese with BRG (AS).
11/16/21      Amy Strong                 Analyzed financial statements for          0.70   350.00           245.00
                                         Telecare from 2013 to 2015.
11/16/21      Amy Strong                 Analyzed financial statements for          0.30   350.00           105.00
                                         Ecclesia from 2004 to 2005.
11/16/21      Amy Strong                 Analyzed financial statements for          0.30   350.00           105.00
                                         Health and Welfare from 2019 to
                                         2020.
11/16/21      Amy Strong                 Analyzed financial statements for the      0.20   350.00            70.00
                                         Society for the Propagation of the
                                         Faith from 2019 to 2020.
11/16/21      Amy Strong                 Analyzed financial statement for           0.20   350.00            70.00
                                         Diocesan Services from 2019 to 2020.
11/16/21      Amy Strong                 Analyzed financial statements for          0.70   350.00           245.00
                                         Catholic Faith Network from 2017 to
                                         2020.
11/16/21      Amy Strong                 Analyzed financial statements Catholic     0.60   350.00           210.00
                                         Press Association from 2019 - 2020.
11/16/21      Amy Strong                 Analyzed financial statements for          0.60   350.00           210.00
                                         Department of Education from 2017
                                         to 2020.
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                Pg 31 of 78




To: James I Stang                                                                                      Page 5 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                Invoice # 129879
                                                                                                     Client: 21145

Date          Name                     Description                               Hours    Rate           Amount

11/16/21      Amy Strong               Analyzed financial statements for          0.40   350.00           140.00
                                       Healthcare and Other Assistances
                                       from 2014 to 2020.
11/16/21      Amy Strong               Analyzed financial statements for the      0.40   350.00           140.00
                                       Lay Pension Plan/Qualified Retirement
                                       Plan for Priest from 2013 to 2020.
11/16/21      Amy Strong               Analyzed financial statements for          0.20   350.00            70.00
                                       Catholic Foundation of Long Island for
                                       2018.
11/16/21      Amy Strong               Analyzed statement of financial            2.80   350.00           980.00
                                       position and statement of activities of
                                       the Administrative Offices of the
                                       Diocese of Rockville Centre for 2000 -
                                       2005.
11/16/21      Amy Strong               Analyzed financial statements of the       1.10   350.00           385.00
                                       Administrative Offices of the DRVC for
                                       years 1994-1999 based on additional
                                       information received.
11/16/21      Amy Strong               Compiled financial statements of           0.40   350.00           140.00
                                       403(b) Retirement for 2015 - 2020,
                                       Healthcare and Other Assistance for
                                       2014 - 2020, Catholic Foundation of
                                       Long Island for 2018 and the Lay
                                       Pension Plan and the Qualified
                                       Retirement Plan for Priests for 2013 -
                                       2020.
11/16/21      Amy Strong               Analyzed financial statements for          0.30   350.00           105.00
                                       Unitas Investment fund from 2004 to
                                       2005.
11/18/21      Amy Strong               Examined financial statements of           0.60   350.00           210.00
                                       Cemeteries and Perm Main Trust from
                                       years 2018 to 2019.
11/18/21      Amy Strong               Updated comparative financial              1.30   350.00           455.00
                                       statement analysis for Debtor
                                       affiliates.
11/18/21      Amy Strong               Examined financial statements of           1.20   350.00           420.00
                                       Tomorrow's Hope Foundation from
                                       years 2013 to 2020.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 32 of 78




To: James I Stang                                                                                        Page 6 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate           Amount

11/29/21      Amy Strong                 Updated balance sheet analysis of          0.40   350.00           140.00
                                         Rockville Diocese entities for the most
                                         recent audited year available based on
                                         additional information received for
                                         Catholic Charities and PSIP.
11/29/21      Amy Strong                 Analyzed statement of changes in net       0.90   350.00           315.00
                                         assets of the Protected Self Insurance
                                         Program of the Diocese of Rockville
                                         Centre for 2019 - 2020.
11/29/21      Amy Strong                 Compiled comparative statement of          0.30   350.00           105.00
                                         activities of the Catholic Charities of
                                         the Diocese of Rockville Centre for
                                         2019 - 2020.
01/04/22      Karl Schliep               Generated file renaming script to aid      2.00   465.00           930.00
                                         in data handling.
01/06/22      Quinn Burnett              Researched financial data for              2.30   330.00           759.00
                                         broadcasting industry.
01/06/22      Quinn Burnett              Participated in call with BRG (EM) to      0.60   330.00           198.00
                                         discuss data collection.
01/06/22      Eric Madsen                Participated in call with BRG (QB) to      0.60   750.00           450.00
                                         discuss collection of comparables
                                         data.
01/06/22      Karl Schliep               Participated in call with BRG (RS) to      1.00   465.00           465.00
                                         discuss script for file renaming.
                                         Total for Task Code 200.20                24.60                  9,208.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
10/05/21     Christina Tergevorkian     Examined newly uploaded audit               0.40   355.00           142.00
                                        documents produced by Debtor.
10/08/21      Matthew Babcock            Examined recent document                   0.50   655.00           327.50
                                         productions provided by Debtor.
10/14/21      Ray Strong                 Inspected documentation produced by        0.30   705.00           211.50
                                         Debtor in latest production.
10/26/21      Christina Tergevorkian     Examined additional document               1.00   355.00           355.00
                                         production by the Debtor on October
                                         26, 2021.
10/29/21      Ray Strong                 identified follow-up issues with           0.40   705.00           282.00
                                         Debtors latest document production.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 33 of 78




To: James I Stang                                                                                       Page 7 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate           Amount

10/29/21      Christina Tergevorkian     Analyzed additional documents             0.90   355.00           319.50
                                         produced by Debtor on October 29,
                                         2021.
11/24/21      Christina Tergevorkian     Updated BRG information request           0.50   355.00           177.50
                                         tracker schedule to include 11/24/21
                                         request of documents.
11/29/21      Christina Tergevorkian     Reviewed documents uploaded by            1.00   355.00           355.00
                                         Jones Day regarding Unitas financials.
12/02/21      Christina Tergevorkian     Reviewed newly added documents            0.30   355.00           106.50
                                         uploaded to Box relating to bank
                                         statements and MOR requests.
12/03/21      Christina Tergevorkian     Analyzed documents uploaded to Box        1.60   355.00           568.00
                                         regarding October bank statements
                                         and MOR supplement schedule.
12/08/21      Christina Tergevorkian     Reviewed KPMG audit work paper            0.60   355.00           213.00
                                         documents uploaded to Everlaw.
12/15/21      Christina Tergevorkian     Updated master document request list      0.40   355.00           142.00
                                         to reflect newly added DLA bank
                                         statement documents.
12/16/21      Christina Tergevorkian     Reviewed Unitas documents provided        2.10   355.00           745.50
                                         to identify missing documents to
                                         request.
12/20/21      Christina Tergevorkian     Reviewed newly added documents            2.00   355.00           710.00
                                         uploaded to Box as of 12/20/21
                                         relating to trial balance and general
                                         ledgers.
12/23/21      Ray Strong                 Discussed document production issues      0.80   705.00           564.00
                                         with BRG (CT) to respond to Counsel.
12/23/21      Christina Tergevorkian     Reviewed documents uploaded to Box        1.50   355.00           532.50
                                         relating to general ledgers.
12/23/21      Christina Tergevorkian     Spoke with BRG (RS) regarding             0.80   355.00           284.00
                                         document production issues.
12/27/21      Ray Strong                 Attended call with BRG (CT) regarding     0.60   705.00           423.00
                                         outstanding document production
                                         from Debtor.
12/27/21      Ray Strong                 Provided Counsel with outstanding         0.30   705.00           211.50
                                         document production information to
                                         assist in preparation of letter to
                                         Debtor.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 34 of 78




To: James I Stang                                                                                       Page 8 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate           Amount

12/27/21      Christina Tergevorkian     Updated master document request list      1.20   355.00           426.00
                                         to understand what requested
                                         documents are still outstanding.
12/27/21      Christina Tergevorkian     Spoke with BRG (RS) regarding             0.60   355.00           213.00
                                         outstanding document issues.
01/04/22      Christina Tergevorkian     Updated documents request list to         0.50   385.00           192.50
                                         reflect newly added document
                                         provided by the Diocese relating to
                                         Parish properties.
01/06/22      Ray Strong                 Met with BRG (CT) to discuss              0.20   735.00           147.00
                                         document production requests..
01/06/22      Ray Strong                 Attended status call with A&M (JG)        0.30   735.00           220.50
                                         regarding document production.
01/06/22      Christina Tergevorkian     Participated in meeting with BRG (RS)     0.30   385.00           115.50
                                         and A&M (JG) to discuss document
                                         production status.
01/06/22      Christina Tergevorkian     Spoke with BRG (RS) to discuss            0.20   385.00            77.00
                                         document production requests.
01/07/22      Ray Strong                 Discussed latest Unitas documents         0.70   735.00           514.50
                                         produced by Debtor with BRG (CT).
01/07/22      Christina Tergevorkian     Spoke with BRG (RS) to discuss            0.70   385.00           269.50
                                         documents uploaded to Everlaw
                                         regarding Unitas, MAC and Diocese
                                         financials.
01/18/22      Paul Shields               Spoke with BRG (RS, MB, CT) regarding     0.60   765.00           459.00
                                         status of production of accounting
                                         records relating to the cemeteries and
                                         additional accounting production
                                         needed.
01/18/22      Ray Strong                 Analyzed latest document productions      2.80   735.00         2,058.00
                                         from Debtor.
01/18/22      Ray Strong                 Continued discussion regarding latest     1.30   735.00           955.50
                                         document productions from Debtor
                                         with BRG (CT).
01/18/22      Ray Strong                 Discussed latest document                 0.80   735.00           588.00
                                         productions from Debtor with BRG
                                         (CT).
01/18/22      Christina Tergevorkian     Spoke with BRG (RS) regarding all         1.30   385.00           500.50
                                         document production requests and
                                         what's still outstanding.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                  Pg 35 of 78




To: James I Stang                                                                                           Page 9 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                     Invoice # 129879
                                                                                                          Client: 21145

Date          Name                       Description                              Hours      Rate             Amount

01/18/22      Christina Tergevorkian     Updated master documents request           1.80   385.00              693.00
                                         list with newly added Box documents.
01/18/22      Christina Tergevorkian     Spoke with BRG (RS) regarding general      0.80   385.00              308.00
                                         ledger and trial balance document
                                         production requests and what's still
                                         outstanding.
01/19/22      Christina Tergevorkian     Updated master document request list       0.40   385.00              154.00
                                         with documents uploaded to Box on
                                         01/19/22.
01/20/22      Christina Tergevorkian     Updated master document request list       0.50   385.00              192.50
                                         with documents uploaded to Box on
                                         1/19/22.
01/21/22      Eric Madsen                Prepared document request list.            1.80   750.00            1,350.00
01/21/22      Ray Strong                 Discussed latest document request          1.00   735.00              735.00
                                         with PSZJ (BM) in preparation for
                                         letter to Debtor.
01/21/22      Ray Strong                 Evaluated new document request list        1.10   735.00              808.50
                                         sent by PSZJ for updates.
01/22/22      Ray Strong                 Developed additional document              1.30   735.00              955.50
                                         requests to be included in PSZJ latest
                                         document production requests.
01/26/22      Eric Madsen                Prepared list of materials to request.     1.20   750.00              900.00
01/26/22      Eric Madsen                Reviewed list of materials to request.     0.60   750.00              450.00
01/26/22      Ray Strong                 Analyzed draft document request sent       0.30   735.00              220.50
                                         by Counsel for comments.
01/26/22      Christina Tergevorkian     Reviewed newly added documents             2.00   385.00              770.00
                                         uploaded to Box relating to Ecclesia.
01/31/22      Ray Strong                 Analyzed revised document request          0.20   735.00              147.00
                                         sent by Counsel for final review.
01/31/22      Christina Tergevorkian     Analyzed discovery request letter in       1.40   385.00              539.00
                                         preparation to request additional
                                         documents.
                                         Total for Task Code 200.90               41.90                     21,629.50

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
10/06/21     Shelby Chaffos              Analyzed receipts and disbursements       0.50     300.00             150.00
                                         for August 2021 included with MOR.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 36 of 78




To: James I Stang                                                                                      Page 10 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

10/07/21      Ray Strong                 Discussed Diocese operating activity       0.20   705.00          141.00
                                         with PSZJ (BM) regarding ongoing
                                         monitoring of Debtor.
11/18/21      Ray Strong                 Attended call with A&M (JG) regarding      0.20   705.00          141.00
                                         monthly operating reports filed in case
                                         from October 2020 through
                                         September 2021.
11/19/21      Ray Strong                 Analyzed monthly operating reports         0.30   705.00          211.50
                                         prepared by Debtor from October
                                         2020 through September 2021.
11/19/21      Ray Strong                 Discussed monitoring of monthly            0.40   705.00          282.00
                                         operating reports from October 2020
                                         through September 2021 prepared by
                                         Debtor with BRG (CT).
11/19/21      Christina Tergevorkian     Analyzed October 2020 through              1.60   355.00          568.00
                                         September 2021 MORs regarding
                                         ending bank account balances.
11/19/21      Christina Tergevorkian     Spoke with BRG (RS) regarding              0.40   355.00          142.00
                                         monthly operating reports from
                                         October 2020 through September
                                         2021.
11/22/21      Ray Strong                 Participated in meeting with BRG (CT)      0.20   705.00          141.00
                                         and A&M (JG, AC) to discuss cash
                                         flows from the MORs from October
                                         2020 through September 2021..
11/22/21      Christina Tergevorkian     Participated in meeting with BRG (RS)      0.20   355.00            71.00
                                         and A&M (JG, AC) to discuss cash
                                         flows from the MORs from October
                                         2020 through September 2021..
12/03/21      Christina Tergevorkian     Analyzed October 2021 MOR                  0.80   355.00          284.00
                                         regarding ending bank account
                                         balances and income statement and
                                         balance sheet data.
12/07/21      Ray Strong                 Discussed monthly operating report         0.10   705.00            70.50
                                         questions with A&M (JG).
12/08/21      Christina Tergevorkian     Analyzed MORs from October 2020            1.30   355.00          461.50
                                         through October 2021 regarding
                                         Mission balance sheet and income
                                         statements.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 37 of 78




To: James I Stang                                                                                        Page 11 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                        Description                                Hours    Rate          Amount

12/08/21      Christina Tergevorkian      Analyzed MORs from October 2020             1.30   355.00          461.50
                                          through October 2021 regarding PSIP
                                          balance sheet and income statements.
01/10/22      Christina Tergevorkian      Analyzed November 2021 ending bank          0.80   385.00          308.00
                                          statement balances in the MOR.
01/31/22      Christina Tergevorkian      Analyzed Administrative Office, PSIP,       0.90   385.00          346.50
                                          and Mission Office MORs regarding
                                          their balance sheet and income
                                          statements for December 2021.
01/31/22      Christina Tergevorkian      Analyzed December 2021 ending bank          0.60   385.00          231.00
                                          statement balances in the MOR.
                                          Total for Task Code 220.00                  9.80                  4,010.50

Task Code: 300.00 - Asset Analysis (General - Debtors)
10/05/21     Ray Strong                   Analyzed Baker Tilley audit work            2.90   705.00         2,044.50
                                          papers produced by Debtor for
                                          Diocese asset analysis.
10/05/21      Ray Strong                  Discussed document analysis issues          0.50   705.00          352.50
                                          with PSZJ (BM) for asset analysis.
10/08/21      Ray Strong                  Analyzed IAC documentation for              1.90   705.00         1,339.50
                                          Diocese asset analysis.
10/11/21      Alexxi L. Arena             Participated in portion of call with UCC    0.50   350.00          175.00
                                          Counsel (KD, BM) and BRG (CT, MB)
                                          regarding asset analysis.
10/11/21      Matthew Babcock             Spoke with UCC Counsel (KD, BM) and         0.70   655.00          458.50
                                          BRG (CT, AA) in regard to asset
                                          analyses/investigations.
10/11/21      Ray Strong                  Analyzed audited pension and                0.90   705.00          634.50
                                          retirement plan financial statements
                                          for Diocese asset analysis.
10/11/21      Ray Strong                  Discussed asset analysis with BRG           0.70   705.00          493.50
                                          (MB, CT, AA) and PSZJ (KD, BM).
10/11/21      Christina Tergevorkian      Participated in meeting with BRG (MB,       0.70   355.00          248.50
                                          AA) and PSZJ (KD, BM) to discuss asset
                                          analysis.
10/18/21      Ray Strong                  Analyzed balance sheets from                0.90   705.00          634.50
                                          retirement plans audited financial
                                          statements for asset analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 38 of 78




To: James I Stang                                                                                     Page 12 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

10/18/21      Ray Strong                 Analyzed balance sheets from health       0.70   705.00          493.50
                                         care plans audited financial
                                         statements for asset analysis.
11/08/21      Christina Tergevorkian     Evaluated financial statement audits      1.70   355.00          603.50
                                         produced by Debtor.
11/10/21      Matthew Babcock            Attended weekly status call with PSZJ     0.90   655.00          589.50
                                         (BM, KD) and BRG (MB, RS) regarding
                                         asset analysis.
11/10/21      Ray Strong                 Attended weekly status call with PSZJ     0.90   705.00          634.50
                                         (BM, KD) and BRG (MB, CT) regarding
                                         asset analysis.
11/10/21      Christina Tergevorkian     Attended weekly status call with PSZJ     0.90   355.00          319.50
                                         (BM, KD) and BRG (MB, RS) regarding
                                         case assignments.
11/12/21      Christina Tergevorkian     Analyzed documents uploaded to Box        0.70   355.00          248.50
                                         pertaining to the requested audit work
                                         papers.
11/17/21      Matthew Babcock            Met with UCC Counsel (BM, KD) and         1.70   655.00         1,113.50
                                         BRG (RS, CT) to evaluate ongoing asset
                                         analyses.
11/17/21      Ray Strong                 Attended weekly meeting with PSZJ         1.70   705.00         1,198.50
                                         (KD, BM) and BRG (MB, CT) to discuss
                                         status of ongoing asset analyses.
11/17/21      Christina Tergevorkian     Participated in meeting with BRG (BM,     1.70   355.00          603.50
                                         KD) and PSZJ (RS, MB) to discuss asset
                                         analyses.
11/23/21      Matthew Babcock            Met with UCC Counsel (BM, KD) and         0.50   655.00          327.50
                                         BRG (RS, CT) to discuss ongoing asset
                                         analyses.
11/23/21      Christina Tergevorkian     Participated in meeting with BRG (RS,     0.50   355.00          177.50
                                         CT) and PSZJ (BM, KD) to discuss asset
                                         investigation.
12/08/21      Ray Strong                 Analyzed post petition asset trends       1.70   705.00         1,198.50
                                         from Oct 2020 through Oct 2021 for
                                         asset analysis.
12/08/21      Ray Strong                 Analyzed prepetition balance sheets       2.10   705.00         1,480.50
                                         trends from 1995 through 2020 for
                                         asset analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 39 of 78




To: James I Stang                                                                                        Page 13 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                       Description                                 Hours    Rate          Amount

12/14/21      Ray Strong                 Developed work streams pursuant to           0.30   705.00          211.50
                                         areas of inquiry by Committee during
                                         Committee call.
12/14/21      Christina Tergevorkian     Reviewed documents uploaded to Box           1.20   355.00          426.00
                                         relating to the DLA bank statements.
12/23/21      Christina Tergevorkian     Reviewed KPMG Audit work papers in           1.10   355.00          390.50
                                         Everlaw in preparation for analysis.
12/27/21      Shelby Chaffos             Reviewed Debtor audit work papers            0.90   300.00          270.00
                                         from KPMG.
12/27/21      Christina Tergevorkian     Reviewed KPMG audit work papers for          1.80   355.00          639.00
                                         Diocese in preparation for analysis.
12/28/21      Christina Tergevorkian     Continued to review KPMG audit work          2.40   355.00          852.00
                                         papers and organized documents in
                                         preparation for analysis.
12/29/21      Christina Tergevorkian     Reviewed KPMG audit work papers in           2.80   355.00          994.00
                                         relation to Administrative Office FY
                                         2013 through FY 2015 in preparation
                                         for analysis.
01/04/22      Ray Strong                 Examined KMPG audit work papers              1.20   735.00          882.00
                                         produced by Debtor.
01/05/22      Matthew Babcock            Developed work streams for BRG               0.40   675.00          270.00
                                         related to asset analyses.
01/13/22      Matthew Babcock            Met with BRG (RS) to discuss case            0.20   675.00          135.00
                                         issues, including asset analysis.
01/13/22      Ray Strong                 Discussed asset analysis with BRG            0.20   735.00          147.00
                                         (MB).
01/18/22      Christina Tergevorkian     Reviewed trial balance files in              0.60   385.00          231.00
                                         preparation to combine everything
                                         into one master file.
01/21/22      Tasha Hatton               Participated in meeting with BRG (CT)        0.30   265.00            79.50
                                         to discuss trial balance consolidation
                                         task in preparation for analysis.
01/21/22      Tasha Hatton               Analyzed Diocese of Rockville trial          2.60   265.00          689.00
                                         balances for the Administrative Office,
                                         PSIP, and priority affiliates for periods
                                         2020 to 2010.
01/21/22      Christina Tergevorkian     Participated in meeting with BRG (TH)        0.30   385.00          115.50
                                         to discuss trial balance consolidation
                                         task in preparation for analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                   Main Document
                                                  Pg 40 of 78




To: James I Stang                                                                                           Page 14 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                       Invoice # 129879
                                                                                                            Client: 21145

Date          Name                         Description                                  Hours    Rate          Amount

                                           Total for Task Code 300.00                   41.70                 21,701.50

Task Code: 301.00 - Asset Analysis (General - Debtors Restricted / Identified Assets)
01/19/22     Christina Tergevorkian       Reviewed restricted assets schedule            0.90   385.00          346.50
                                          and supporting documents to
                                          understand what has been provided in
                                          preparation for analysis.
                                           Total for Task Code 301.00                    0.90                   346.50

Task Code: 302.00 - Asset Analysis (General - Related Non-Debtors)
10/08/21     Ray Strong                   Analyzed IAC documentation for                 0.60   705.00          423.00
                                          Unitas asset analysis.
10/08/21      Ray Strong                   Analyzed IAC documentation for MAC            0.70   705.00          493.50
                                           asset analysis.
10/11/21      Ray Strong                   Analyzed audited Clemco financial             0.60   705.00          423.00
                                           statements for asset analysis.
10/11/21      Ray Strong                   Analyzed audited Department of                0.40   705.00          282.00
                                           Education financial statements for
                                           asset analysis.
10/18/21      Ray Strong                   Analyzed balance sheets from non-             1.10   705.00          775.50
                                           debtors audited financial statements
                                           for asset analysis.
11/16/21      Ray Strong                   Analyzed identified Parish assets in          1.20   705.00          846.00
                                           preparation for UCC meeting.
11/17/21      Ray Strong                   Analyzed documents produced by                0.80   705.00          564.00
                                           Debtor regarding Unitas for asset
                                           analysis.
11/17/21      Ray Strong                   Analyzed documents produced by                0.60   705.00          423.00
                                           Debtor regarding MAC for asset
                                           analysis.
12/14/21      Ray Strong                   Analyzed Catholic Charities financial         1.60   705.00         1,128.00
                                           information provided by Debtor for
                                           Affiliate asset analysis.
12/14/21      Ray Strong                   Analyzed Unitas financial information         0.50   705.00          352.50
                                           provided by Debtor for affiliate asset
                                           analysis.
12/14/21      Ray Strong                   Analyzed Mission Assistance financial         0.50   705.00          352.50
                                           information provided by Debtor for
                                           affiliate asset analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 41 of 78




To: James I Stang                                                                                      Page 15 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

12/15/21      Ray Strong                 Analyzed financial information             1.60   705.00         1,128.00
                                         provided by Debtor for
                                         CemCo/Diocese Cemeteries for asset
                                         analysis.
12/15/21      Ray Strong                 Analyzed financial information             1.50   705.00         1,057.50
                                         provided by Debtor for Department of
                                         Education for asset analysis.
12/17/21      Ray Strong                 Discussed affiliate asset analysis with    0.60   705.00          423.00
                                         BRG (CT) in preparation for future
                                         Committee meeting.
12/17/21      Christina Tergevorkian     Analyzed Mission Assistance Corp           1.50   355.00          532.50
                                         financial statements to create a
                                         summary asset analysis.
12/17/21      Christina Tergevorkian     Analyzed Seminary financial                1.50   355.00          532.50
                                         statements to create a summary asset
                                         analysis.
12/17/21      Christina Tergevorkian     Analyzed Unitas financial statements       1.50   355.00          532.50
                                         to create a summary asset analysis.
12/17/21      Christina Tergevorkian     Spoke with BRG (RS) to discuss asset       0.60   355.00          213.00
                                         analysis for the Diocese affiliate
                                         entities.
12/20/21      Christina Tergevorkian     Analyzed Catholic Charities financial      1.50   355.00          532.50
                                         statements to create a summary asset
                                         analysis.
12/20/21      Christina Tergevorkian     Analyzed High Schools financial            1.40   355.00          497.00
                                         statements to create a summary asset
                                         analysis.
12/20/21      Christina Tergevorkian     Analyzed Department of Education           0.70   355.00          248.50
                                         financial statements to create a
                                         summary asset analysis.
12/21/21      Ray Strong                 Analyzed financial graphs for balance      1.10   705.00          775.50
                                         sheet activity of related non-debtors.
12/21/21      Christina Tergevorkian     Analyzed Telecare financial statements     2.30   355.00          816.50
                                         to create a comparative income
                                         statement analysis.
12/21/21      Christina Tergevorkian     Analyzed Telecare financial statements     1.80   355.00          639.00
                                         to create a comparative balance sheet
                                         analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 42 of 78




To: James I Stang                                                                                      Page 16 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

12/22/21      Christina Tergevorkian     Analyzed Telecare and Catholic Faith       1.00   355.00          355.00
                                         Network financial statements to
                                         create a summary asset analysis.
12/22/21      Christina Tergevorkian     Reviewed Unitas, Ecclesia, MAC, High       1.50   355.00          532.50
                                         Schools, and DOE financial statements
                                         summary asset analysis.
12/23/21      Ray Strong                 Analyzed accounting data/reports           1.70   705.00         1,198.50
                                         provided by Debtor regarding non-
                                         Debtor entities.
12/23/21      Ray Strong                 Analyzed accounting data/reports           1.60   705.00         1,128.00
                                         provided by Debtor regarding Debtor
                                         business segments.
12/23/21      Ray Strong                 Analyzed perpetual care maintenance        1.40   705.00          987.00
                                         analyses performed by Debtor actuary
                                         for asset analysis.
12/27/21      Christina Tergevorkian     Reviewed KPMG audit work papers for        0.90   355.00          319.50
                                         Affiliates in preparation for analysis.
12/27/21      Christina Tergevorkian     Reviewed High Schools and DOE              1.30   355.00          461.50
                                         financial statements summary asset
                                         analysis.
12/27/21      Christina Tergevorkian     Reviewed trial balance schedules           0.80   355.00          284.00
                                         provided for Administrative Office,
                                         PSIP and other affiliate entities.
12/28/21      Christina Tergevorkian     Reviewed Unitas, Ecclesia, and MAC         2.60   355.00          923.00
                                         financial statements summary asset
                                         analysis.
12/28/21      Christina Tergevorkian     Reviewed KPMG audit work papers in         2.00   355.00          710.00
                                         relation to Unitas and MAC in
                                         preparation for analysis.
12/29/21      Christina Tergevorkian     Reviewed KPMG audit work papers in         2.50   355.00          887.50
                                         relation to MAC FY 2013 through FY
                                         2015 in preparation for analysis.
12/29/21      Christina Tergevorkian     Continued to review KPMG audit work        2.80   355.00          994.00
                                         papers in relation to Unitas and MAC
                                         in preparation for analysis.
12/30/21      Christina Tergevorkian     Reviewed KPMG audit work papers in         2.00   355.00          710.00
                                         relation to Unitas FY 2013 through FY
                                         2015 in preparation for analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                  Pg 43 of 78




To: James I Stang                                                                                       Page 17 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                   Invoice # 129879
                                                                                                        Client: 21145

Date          Name                       Description                                Hours    Rate          Amount

12/30/21      Christina Tergevorkian     Examined KPMG audit work paper              1.20   355.00          426.00
                                         documents into Administrative Office,
                                         Unitas, and MAC folders.
12/30/21      Christina Tergevorkian     Reviewed KPMG audit work papers in          1.30   355.00          461.50
                                         relation to Unitas FY 2013 through FY
                                         2015 bank statements in preparation
                                         for analysis.
01/04/22      Christina Tergevorkian     Reviewed KPMG audit work paper              0.20   385.00            77.00
                                         documentation.
01/10/22      Christina Tergevorkian     Analyzed Administrative Office, PSIP,       0.80   385.00          308.00
                                         and Mission Office MORs regarding
                                         their balance sheet and income
                                         statements for November 2021.
01/13/22      Ray Strong                 Investigated Department of Education        1.40   735.00         1,029.00
                                         financial documentation produced by
                                         Debtor for asset analysis.
01/14/22      Matthew Babcock            Met with BRG (RS) to discuss asset          1.00   675.00          675.00
                                         analyses.
01/14/22      Ray Strong                 Attended call with BRG (MB) regarding       1.00   735.00          735.00
                                         status of asset analysis for affiliates.
01/18/22      Matthew Babcock            Met with BRG (RS, PS, CT) to discuss        0.60   675.00          405.00
                                         DOE analysis.
01/18/22      Quinn Burnett              Reviewed documents describing               2.70   330.00          891.00
                                         perpetual care fund.
01/18/22      Quinn Burnett              Researched discount rate information        0.90   330.00          297.00
                                         for perpetual care fund.
01/18/22      Eric Madsen                Reviewed 10Ks for publicly traded           0.90   750.00          675.00
                                         cemeteries.
01/18/22      Eric Madsen                Reviewed Anchin valuation.                  1.20   750.00          900.00
01/18/22      Eric Madsen                Identified publicly traded cemeteries.      0.80   750.00          600.00
01/18/22      Ray Strong                 Discussed Department of Education           0.60   735.00          441.00
                                         analysis with BRG (MB, CT, PS).
01/18/22      Christina Tergevorkian     Updated Catholic Foundation                 0.60   385.00          231.00
                                         comparative audit analysis to reflect
                                         2019 financial s.
01/18/22      Christina Tergevorkian     Participated in meeting with BRG (RS,       0.60   385.00          231.00
                                         MB, PS) to discuss document
                                         production related to Department of
                                         Education.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 44 of 78




To: James I Stang                                                                                        Page 18 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                         Description                               Hours    Rate          Amount

01/19/22      Jeffrey Shaw                 Spoke with BRG (RS) regarding DOE          2.10   565.00         1,186.50
                                           asset analysis.
01/19/22      Ray Strong                   Attended call with BRG (JS) regarding      2.10   735.00         1,543.50
                                           investigation of Department of
                                           Education transfers/assets.
01/19/22      Ray Strong                   Attended call with PSZJ (BM) regarding     0.30   735.00          220.50
                                           investigation of Department of
                                           Education transfers/assets.
01/19/22      Ray Strong                   Analyzed documents produced by             2.70   735.00         1,984.50
                                           Debtor for Department of Education
                                           transfers/asset analysis.
                                           Total for Task Code 302.00                71.30                 36,799.00

Task Code: 310.00 - Asset Analysis (Cash / Bank Accounts - Debtors)
10/01/21     Alexxi L. Arena               Participated in meeting with BRG (RS,      0.30   350.00          105.00
                                           CT) re: CMA GL and bank account
                                           receipts and disbursements analysis.
10/01/21      Ray Strong                   Discussed cash receipts and                0.30   705.00          211.50
                                           disbursement analysis for CMA
                                           account with BRG (CT, AA).
10/01/21      Ray Strong                   Discussed bank account                     0.20   705.00          141.00
                                           statistics/metrics for Debtor bank
                                           accounts with BRG (CT).
10/01/21      Ray Strong                   Analyzed cash receipts and                 2.10   705.00         1,480.50
                                           disbursements general ledger activity
                                           for Debtor operating account from
                                           2019-2020.
10/01/21      Ray Strong                   Analyzed cash receipts and                 1.90   705.00         1,339.50
                                           disbursements general ledger activity
                                           for Debtor operating account from
                                           2017-2018.
10/01/21      Ray Strong                   Analyzed bank account                      0.20   705.00          141.00
                                           statistics/metrics for Debtor bank
                                           accounts prepared by BRG.
10/01/21      Christina Tergevorkian       Met with BRG (RS) regarding Debtor         0.20   355.00            71.00
                                           bank account metrics and statistics for
                                           analysis.
10/01/21      Christina Tergevorkian       Participated in meeting with BRG (RS,      0.30   355.00          106.50
                                           AA) to discuss CMA general ledger and
                                           bank account analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 45 of 78




To: James I Stang                                                                                      Page 19 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

10/01/21      Christina Tergevorkian     Analyzed general ledger cash account       1.10   355.00          390.50
                                         activity for asset analysis.
10/01/21      Christina Tergevorkian     Analyzed general ledger cash account       2.10   355.00          745.50
                                         activity transactions averages/metrics
                                         for operating account.
10/01/21      Christina Tergevorkian     Analyzed general ledger cash account       0.40   355.00          142.00
                                         activity transactions averages/metrics
                                         for CMA account.
10/05/21      Matthew Babcock            Spoke with BRG (RS) in regard to           0.30   655.00          196.50
                                         operating account analysis.
10/05/21      Ray Strong                 Analyzed general ledger transaction        2.10   705.00         1,480.50
                                         detail for DLA Account transactions
                                         greater than $10,000 for asset
                                         analysis.
10/05/21      Ray Strong                 Analyzed general ledger transaction        1.90   705.00         1,339.50
                                         detail for operating account
                                         transactions greater than $10,000 for
                                         asset analysis.
10/05/21      Ray Strong                 Discussed operating account analysis       0.30   705.00          211.50
                                         with BRG (MB) for asset analysis.
10/05/21      Ray Strong                 Evaluated Baker Tilley audit work          0.20   705.00          141.00
                                         papers produced by Debtor for
                                         Diocese to identify additional bank
                                         account documentation.
10/06/21      Christina Tergevorkian     Analyzed general ledger and bank           1.30   355.00          461.50
                                         account analysis for the COA operating
                                         account.
10/06/21      Christina Tergevorkian     Investigated general ledger analysis in    2.00   355.00          710.00
                                         preparation for CMA account analysis.
10/07/21      Alexxi L. Arena            Participated in call with BRG (CT) to      0.30   350.00          105.00
                                         discuss analysis of Diocese COA and
                                         CMA bank statement and GL activity.
10/07/21      Ray Strong                 Discussed analysis of operating            0.60   705.00          423.00
                                         account transaction activity with BRG
                                         (CT) for asset analysis.
10/07/21      Christina Tergevorkian     Continued to review general ledger         0.80   355.00          284.00
                                         analysis in preparation for CMA
                                         account analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                 Main Document
                                                  Pg 46 of 78




To: James I Stang                                                                                         Page 20 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                     Invoice # 129879
                                                                                                          Client: 21145

Date          Name                       Description                                  Hours    Rate          Amount

10/07/21      Christina Tergevorkian     Spoke with BRG (RS) regarding Diocese         0.60   355.00          213.00
                                         COA general ledger and bank
                                         statement activity.
10/07/21      Christina Tergevorkian     Spoke with BRG (AA) regarding                 0.30   355.00          106.50
                                         Diocese COA and CMA general ledger
                                         and bank statement activity in
                                         preparation for analysis.
10/07/21      Christina Tergevorkian     Analyzed Diocese CMA general ledger           1.40   355.00          497.00
                                         activity to establish initial threshold of
                                         activity to analyze.
10/07/21      Christina Tergevorkian     Verified Diocese CMA general ledger           1.80   355.00          639.00
                                         activity with third party CMA bank
                                         statement activity.
10/07/21      Christina Tergevorkian     Verified Diocese 2016 CMA operating           1.20   355.00          426.00
                                         account general ledger activity with
                                         third party CMA bank statement
                                         activity regarding IAC transfer analysis.
10/07/21      Christina Tergevorkian     Verified Diocese 2017 CMA operating           1.50   355.00          532.50
                                         account general ledger activity with
                                         third party CMA bank statement
                                         activity regarding IAC transfer analysis.
10/08/21      Christina Tergevorkian     Analyzed Diocese 2020 CMA operating           1.60   355.00          568.00
                                         account general ledger activity by
                                         comparing to CMA bank statement
                                         activity.
10/08/21      Christina Tergevorkian     Analyzed Diocese 2021 CMA operating           0.50   355.00          177.50
                                         account general ledger activity by
                                         comparing to CMA bank statement
                                         activity.
10/08/21      Christina Tergevorkian     Analyzed Diocese 2016-2021 CMA                1.80   355.00          639.00
                                         money market account general ledger
                                         activity by comparing to CMA bank
                                         statement activity.
10/08/21      Christina Tergevorkian     Analyzed Diocese 2018 CMA operating           2.40   355.00          852.00
                                         account general ledger activity by
                                         comparing to CMA bank statement
                                         activity.
10/08/21      Christina Tergevorkian     Analyzed Diocese 2019 CMA operating           1.70   355.00          603.50
                                         account general ledger activity by
                                         comparing to CMA bank statement
                                         activity.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 47 of 78




To: James I Stang                                                                                     Page 21 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

10/11/21      Christina Tergevorkian     Analyzed Diocese 2016-2021 CMA            1.50   355.00          532.50
                                         money market account general ledger
                                         and categorized activity.
10/11/21      Christina Tergevorkian     Analyzed Diocese 2016-2021 CMA            1.80   355.00          639.00
                                         operating account general ledger and
                                         categorized activity.
10/14/21      Ray Strong                 Analyzed general ledger transaction       1.70   705.00         1,198.50
                                         activity for DLA accounts for asset
                                         analysis.
10/20/21      Ray Strong                 Analyzed general operating account        1.30   705.00          916.50
                                         transaction activity over past 6 years
                                         for asset analysis.
11/01/21      Ray Strong                 Analyzed document productions from        2.40   705.00         1,692.00
                                         Debtor uploaded into Everlaw for
                                         financial analysis.
11/17/21      Ray Strong                 Analyzed audited financial statements     1.60   705.00         1,128.00
                                         regarding DLA activity for asset
                                         analysis.
12/03/21      Shelby Chaffos             Analyzed receipts and disbursements       1.20   300.00          360.00
                                         for September - October 2021.
12/07/21      Ray Strong                 Analyzed investment account activity      1.70   705.00         1,198.50
                                         from 2009 through 2020 for Diocese
                                         asset analysis.
12/07/21      Ray Strong                 Analyzed cash account activity from       2.10   705.00         1,480.50
                                         2009 through 2020 for Diocese asset
                                         analysis.
12/08/21      Christina Tergevorkian     Reviewed October 2021 bank                1.60   355.00          568.00
                                         statements for the active Diocese
                                         accounts.
12/15/21      Christina Tergevorkian     Continued to review documents             1.50   355.00          532.50
                                         uploaded to Box relating to the DLA
                                         bank statements.
12/15/21      Christina Tergevorkian     Updated Bank Account Index schedule       2.10   355.00          745.50
                                         to reflect DLA bank accounts added
                                         and newly added Diocese October
                                         bank statements.
12/15/21      Christina Tergevorkian     Processed DLA Chase operating (0944)      1.30   355.00          461.50
                                         and money market (8105) account
                                         through ScanWriter in preparation for
                                         analysis of the data.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 48 of 78




To: James I Stang                                                                                      Page 22 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

12/15/21      Christina Tergevorkian     Reconciled ScanWriter export of DLA        2.80   355.00          994.00
                                         Chase operating (0944) account with
                                         bank statements from December 2015
                                         through October 2016 to ensure
                                         accuracy.
12/16/21      Christina Tergevorkian     Processed DLA Chase operating (0944)       1.20   355.00          426.00
                                         and Signature Bank money market
                                         (6312) account through ScanWriter in
                                         preparation for analysis of the data.
12/16/21      Christina Tergevorkian     Reconciled ScanWriter export of DLA        2.30   355.00          816.50
                                         Chase operating (0944) account with
                                         bank statements from November 2016
                                         through June 2019 to ensure accuracy.
12/17/21      Christina Tergevorkian     Reconciled ScanWriter export of DLA        0.50   355.00          177.50
                                         Signature Bank money market (6312)
                                         account with bank statements from
                                         January 2015 through October 2018 to
                                         ensure accuracy.
12/17/21      Christina Tergevorkian     Reconciled ScanWriter export of DLA        0.50   355.00          177.50
                                         Chase money market (8105) account
                                         with bank statements from January
                                         2015 through February 2018 to ensure
                                         accuracy.
12/23/21      Christina Tergevorkian     Reviewed newly added documents             1.50   355.00          532.50
                                         uploaded to Box as of 12/21/21
                                         relating to DLA bank statements.
12/24/21      Karl Schliep               Developed Python script to automate        1.00   435.00          435.00
                                         bank statement extraction for cash
                                         analysis.
01/04/22      Ray Strong                 Analyzed notice of bank account            0.20   735.00          147.00
                                         closure sent by Debtor.
01/06/22      Ray Strong                 Evaluated code/scripts prepared for        1.00   735.00          735.00
                                         bank account analysis with BRG (KS).
01/06/22      Christina Tergevorkian     Reviewed work done on non-IAC              2.00   385.00          770.00
                                         transactions in preparation for
                                         analysis.
01/06/22      Christina Tergevorkian     Analyzed operating account activity.       1.70   385.00          654.50
01/06/22      Christina Tergevorkian     Analyzed operating account activity        1.30   385.00          500.50
                                         related to bank clear dates for certain
                                         transactions.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 49 of 78




To: James I Stang                                                                                     Page 23 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

01/07/22      Christina Tergevorkian     Analyzed CMA 2016 through 2021            2.30   385.00          885.50
                                         general ledger activity with the CMA
                                         bank statement activity to add clear
                                         dates and bank descriptions.
01/07/22      Christina Tergevorkian     Analyzed DLA and CMA general              1.40   385.00          539.00
                                         ledgers to ensure consistency and in
                                         preparation for analysis with bank
                                         statement activity.
01/07/22      Christina Tergevorkian     Reconciled ScanWriter export of DLA       1.90   385.00          731.50
                                         Chase operating (0944) account with
                                         bank statements from November
                                         October 2014 through November 2015
                                         to ensure accuracy.
01/07/22      Christina Tergevorkian     Analyzed DLA 2014 through 2017            1.70   385.00          654.50
                                         general ledger with the DLA bank
                                         statement activity to add clear dates
                                         and bank descriptions.
01/11/22      Christina Tergevorkian     Analyzed DLA January 2016 through         1.60   385.00          616.00
                                         July 2019 general ledger money
                                         market transactions with the DLA bank
                                         statement activity.
01/11/22      Christina Tergevorkian     Continued to analyze DLA 2014             1.70   385.00          654.50
                                         through 2017 general ledger with the
                                         DLA bank statement activity to add
                                         clear dates and bank descriptions.
01/11/22      Christina Tergevorkian     Analyzed DLA October 2014 through         1.90   385.00          731.50
                                         December 2015 general ledger money
                                         market transactions with the DLA bank
                                         statement activity.
01/11/22      Christina Tergevorkian     Analyzed DLA 2018 through 2019            2.30   385.00          885.50
                                         general ledger with the DLA bank
                                         statement activity to add clear dates
                                         and bank descriptions.
01/12/22      Christina Tergevorkian     Analyzed DLA January 2014 through         2.20   385.00          847.00
                                         July 2019 general ledger money
                                         market 0771 transactions with the DLA
                                         0771 bank statement activity.
01/12/22      Christina Tergevorkian     Analyzed DLA general ledger               2.60   385.00         1,001.00
                                         transactions over $50,000 with the
                                         DLA operating bank statement activity.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24            Main Document
                                                  Pg 50 of 78




To: James I Stang                                                                                    Page 24 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                Invoice # 129879
                                                                                                     Client: 21145

Date          Name                       Description                             Hours    Rate          Amount

01/12/22      Christina Tergevorkian     Reconciled ScanWriter export of DLA      1.80   385.00          693.00
                                         Chase money market (0771) account
                                         with bank statements from January
                                         2014 through July 2019 to ensure
                                         accuracy.
01/13/22      Shelby Chaffos             Analyzed Receipts and Disbursements      0.70   330.00          231.00
                                         for November 2021.
01/13/22      Shelby Chaffos             Analyzed DLA operating bank              1.20   330.00          396.00
                                         statement deposits over $50,000 from
                                         March 2018 to January 2019 with the
                                         DLA general ledger activity.
01/13/22      Shelby Chaffos             Analyzed DLA operating bank              2.80   330.00          924.00
                                         statement deposits over $50,000 from
                                         June 2016 to March 2018 with the DLA
                                         general ledger activity.
01/13/22      Christina Tergevorkian     Analyzed DLA operating bank              1.00   385.00          385.00
                                         statement deposits over $50,000 from
                                         October 2015 to December 2015 with
                                         the DLA general ledger activity.
01/13/22      Christina Tergevorkian     Analyzed CMA operating bank              1.50   385.00          577.50
                                         statement deposits over $50,000 from
                                         May 2016 to April 2021 with the CMA
                                         general ledger activity.
01/13/22      Christina Tergevorkian     Continued to analyze DLA general         2.00   385.00          770.00
                                         ledger transactions over $50,000 with
                                         the DLA operating bank statement
                                         activity.
01/13/22      Christina Tergevorkian     Analyzed DLA operating bank              1.40   385.00          539.00
                                         statement deposits over $50,000 from
                                         January 2016 to March 2017 with the
                                         DLA general ledger activity.
01/13/22      Christina Tergevorkian     Analyzed CMA operating bank              1.30   385.00          500.50
                                         statement checks under $50,000 from
                                         May 2016 to April 2021 with the CMA
                                         general ledger activity.
01/14/22      Christina Tergevorkian     Analyzed COA general ledger              1.30   385.00          500.50
                                         transactions over $50,000 with the
                                         COA operating bank statement
                                         activity.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                                  Pg 51 of 78




To: James I Stang                                                                                   Page 25 of 52
c/o: Pachulski Stang Ziehl & Jones                                                               Invoice # 129879
                                                                                                    Client: 21145

Date          Name                       Description                            Hours    Rate          Amount

01/14/22      Christina Tergevorkian     Analyzed COA general ledger in          1.30   385.00          500.50
                                         preparation to compare with bank
                                         statement activity.
01/14/22      Christina Tergevorkian     Analyzed COA general ledger checks      2.40   385.00          924.00
                                         with the COA operating bank
                                         statement activity.
01/14/22      Christina Tergevorkian     Analyzed DLA operating bank             2.40   385.00          924.00
                                         statement checks under $50,000 from
                                         October 2015 to July 2019 with the
                                         DLA general ledger activity.
01/18/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.80   385.00          693.00
                                         above $50,000.
01/19/22      Quinn Burnett              Summarized asset allocation of          1.30   330.00          429.00
                                         investment portfolio.
01/19/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.70   385.00          654.50
                                         below $50,000.
01/19/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.50   385.00          577.50
                                         above $50,000 in 2016.
01/20/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.20   385.00          462.00
                                         checks below $50,000 that didn't
                                         clear.
01/20/22      Christina Tergevorkian     Analyzed COA general ledger activity    2.00   385.00          770.00
                                         deposits above $50,000.
01/21/22      Christina Tergevorkian     Analyzed COA general ledger activity    2.30   385.00          885.50
                                         deposits above $50,000 in 2018 and
                                         2019.
01/21/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.70   385.00          654.50
                                         deposits above $50,000 in 2020 and
                                         2021.
01/21/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.60   385.00          616.00
                                         deposits above $50,000 in 2016 and
                                         2017.
01/21/22      Christina Tergevorkian     Analyzed COA general ledger activity    1.80   385.00          693.00
                                         checks below $50,000 in 2016.
01/24/22      Shelby Chaffos             Analyzed COA operating bank             0.70   330.00          231.00
                                         statement disbursements from
                                         September 2020 with the COA general
                                         ledger activity.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 52 of 78




To: James I Stang                                                                                     Page 26 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                             Hours     Rate          Amount

01/24/22      Ray Strong                 Analyzed general ledger cash activity     2.10   735.00         1,543.50
                                         for DLA accounts for non-IAC transfer
                                         analysis.
01/24/22      Ray Strong                 Analyzed general ledger cash activity     2.30   735.00         1,690.50
                                         for CMA account for non-IAC transfer
                                         analysis.
01/24/22      Ray Strong                 Analyzed general ledger cash activity     1.80   735.00         1,323.00
                                         for operating account for non-IAC
                                         transfer analysis.
01/24/22      Christina Tergevorkian     Continued to analyze COA general          0.80   385.00          308.00
                                         ledger activity checks below $50,000
                                         in 2016.
01/24/22      Christina Tergevorkian     Analyzed COA general ledger activity      1.40   385.00          539.00
                                         checks below $50,000 in 2017.
01/24/22      Christina Tergevorkian     Analyzed COA general ledger activity      1.50   385.00          577.50
                                         checks below $50,000 in 2018.
01/24/22      Christina Tergevorkian     Analyzed COA general ledger activity      1.40   385.00          539.00
                                         checks below $50,000 in 2019.
01/24/22      Christina Tergevorkian     Analyzed COA general ledger activity      1.60   385.00          616.00
                                         checks below $50,000 in 2020.
01/24/22      Christina Tergevorkian     Analyzed COA general ledger activity      1.30   385.00          500.50
                                         checks below $50,000 in 2021.
01/31/22      Shelby Chaffos             Analyzed receipts and disbursements       0.50   330.00          165.00
                                         for December 2021.
01/31/22      Ray Strong                 Analyzed general ledger cash activity     1.70   735.00         1,249.50
                                         for operating account for non-IAC
                                         transfer analysis.
01/31/22      Ray Strong                 Analyzed general ledger cash activity     1.10   735.00          808.50
                                         for DLA accounts for non-IAC transfer
                                         analysis.
01/31/22      Ray Strong                 Analyzed general ledger cash activity     1.50   735.00         1,102.50
                                         for CMA account for non-IAC transfer
                                         analysis.
                                         Total for Task Code 310.00              148.80                 66,339.00

Task Code: 322.00 - Asset Analysis (Investments / Funds - Related Non-Debtors)
10/20/21     Christina Tergevorkian       Examined investment documentation        1.70   355.00          603.50
                                          produced by Debtor regarding
                                          investments held by Parishes.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                 Main Document
                                                  Pg 53 of 78




To: James I Stang                                                                                         Page 27 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                     Invoice # 129879
                                                                                                          Client: 21145

Date          Name                        Description                                 Hours    Rate          Amount

11/01/21      Christina Tergevorkian      Analyzed documentation produced by           2.00   355.00          710.00
                                          Debtor regarding Parish investment
                                          activity.
11/02/21      Ray Strong                  Examined document productions from           1.60   705.00         1,128.00
                                          Debtor uploaded into Everlaw for
                                          financial analysis.
11/22/21      Ray Strong                  Analyzed Parish Investment                   2.70   705.00         1,903.50
                                          information for asset analysis.
12/16/21      Christina Tergevorkian      Reviewed Unitas participant                  2.00   355.00          710.00
                                          investment statements to identify
                                          missing documents to request.
01/21/22      Quinn Burnett               Participated in call with (EM, PS) to        0.20   330.00            66.00
                                          discuss valuation strategy.
01/21/22      Quinn Burnett               Reviewed financial statements to             2.40   330.00          792.00
                                          summarize Perpetual Care Fund
                                          valuation and asset allocation of
                                          investment fund.
01/24/22      Quinn Burnett               Reviewed financial statements to             2.40   330.00          792.00
                                          summarize Perpetual Care Fund
                                          valuation and asset allocation of
                                          investment fund.
                                          Total for Task Code 322.00                  15.00                  6,705.00

Task Code: 330.00 - Asset Analysis (Real Property - Debtors)
10/20/21     Amanda Marigliano             Continued to analyze parcels in             1.30   400.00          520.00
                                           Suffolk/Nassau counties to determine
                                           Diocese ownership.
10/21/21      Amanda Marigliano           Examined updated parcel data                 1.40   400.00          560.00
                                          obtained from county assessors for
                                          real estate analysis.
10/21/21      Christina Tergevorkian      Identified real estate parcels requiring     1.10   355.00          390.50
                                          further evaluation for asset analysis.
10/28/21      Christina Tergevorkian      Analyzed Diocese properties they still       1.30   355.00          461.50
                                          own and have sold.
10/28/21      Christina Tergevorkian      Examined real estate documentation           1.10   355.00          390.50
                                          produced by Debtor for real estate
                                          analysis.
11/10/21      Christina Tergevorkian      Analyzed real estate values for Debtor       0.50   355.00          177.50
                                          identified properties for asset analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                  Pg 54 of 78




To: James I Stang                                                                                       Page 28 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                   Invoice # 129879
                                                                                                        Client: 21145

Date          Name                        Description                               Hours    Rate          Amount

11/22/21      Ray Strong                  Attended call with BRG (CT) regarding      0.20   705.00          141.00
                                          updates to the real estate analysis.
11/22/21      Christina Tergevorkian      Updated real estate analysis in            1.00   355.00          355.00
                                          preparation to send to UCC.
11/22/21      Christina Tergevorkian      Spoke with BRG (RS) to discuss real        0.20   355.00            71.00
                                          estate analysis in preparation to send
                                          schedule to the Committee.
11/29/21      Ray Strong                  Met with BRG (CT) to discuss Diocese       0.20   705.00          141.00
                                          real estate analysis in preparation for
                                          Committee meeting.
11/29/21      Christina Tergevorkian      Participated in call with BRG (RS) to      0.20   355.00            71.00
                                          discuss Diocese real estate in
                                          preparation for Committee meeting.
11/30/21      Ray Strong                  Discussed outstanding issues on real       0.30   705.00          211.50
                                          estate analysis with BRG (CT).
12/20/21      Christina Tergevorkian      Updated master real estate schedule        0.50   355.00          177.50
                                          to include property detail regarding
                                          Diocese properties.
12/23/21      Christina Tergevorkian      Analyzed documents relating to             2.80   355.00          994.00
                                          owned Diocese property in order to
                                          update master real estate file.
01/04/22      Ray Strong                  Analyzed recent real estate                0.30   735.00          220.50
                                          documents provided by Diocese for
                                          asset analysis.
01/04/22      Christina Tergevorkian      Analyzed real estate documentation         0.30   385.00          115.50
                                          produced by Debtor for asset analysis.
01/04/22      Christina Tergevorkian      Updated master real estate file to         2.10   385.00          808.50
                                          reflect new property information
                                          provided by the Diocese.
                                          Total for Task Code 330.00                14.80                  5,806.50

Task Code: 332.00 - Asset Analysis (Real Property - Related Non-Debtors)
10/09/21     Ray Strong                    Analyzed IAC documentation                1.20   705.00          846.00
                                           produced by Debtor relating to
                                           Seminary transfers.
10/09/21      Ray Strong                  Analyzed IAC documentation                 1.50   705.00         1,057.50
                                          produced by Debtor relating to
                                          Cemetery transfers.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 55 of 78




To: James I Stang                                                                                      Page 29 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

10/09/21      Ray Strong                 Analyzed IAC documentation                 1.30   705.00          916.50
                                         produced by Debtor relating to school
                                         transfers to DOE.
10/11/21      Christina Tergevorkian     Continued to analyze Parish property       1.00   355.00          355.00
                                         2021 assessed values.
10/11/21      Christina Tergevorkian     Analyzed Parish property 2021              2.20   355.00          781.00
                                         assessed values.
10/12/21      Ray Strong                 Attended call with BRG (CT) regarding      1.30   705.00          916.50
                                         ongoing examination of Parish real
                                         estate for asset analysis.
10/12/21      Christina Tergevorkian     Spoke with BRG (RS) regarding Parish       1.30   355.00          461.50
                                         real estate properties and assessed
                                         values.
10/12/21      Christina Tergevorkian     Analyzed Parish property 2019              2.50   355.00          887.50
                                         assessed CoStar values.
10/12/21      Christina Tergevorkian     Continued to analyze Parish property       1.50   355.00          532.50
                                         2021 assessed values.
10/13/21      Christina Tergevorkian     Analyzed real estate documentation         1.70   355.00          603.50
                                         provided by Diocese relating to Parish
                                         properties.
10/13/21      Christina Tergevorkian     Verified Parish properties in master       2.90   355.00         1,029.50
                                         real estate file with the tax exemption
                                         filing binders data.
10/13/21      Christina Tergevorkian     Continued to verify Parish properties      2.80   355.00          994.00
                                         in master real estate file with the tax
                                         exemption filing binders data.
10/14/21      Ray Strong                 Attended call with BRG (CT) regarding      0.30   705.00          211.50
                                         ongoing examination of Parish real
                                         estate for asset analysis.
10/14/21      Christina Tergevorkian     Verified identified Parish real estate     2.10   355.00          745.50
                                         with assessor real estate information
                                         for asset analysis.
10/14/21      Christina Tergevorkian     Verified identified Parish real estate     2.90   355.00         1,029.50
                                         with the Anderson Report for asset
                                         analysis..
10/14/21      Christina Tergevorkian     Verified identified Parish real estate     1.70   355.00          603.50
                                         with Debtor provided real estate
                                         information for asset analysis..
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                  Pg 56 of 78




To: James I Stang                                                                                       Page 30 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                   Invoice # 129879
                                                                                                        Client: 21145

Date          Name                       Description                                Hours    Rate          Amount

10/14/21      Christina Tergevorkian     Identified additional Parish properties     1.10   355.00          390.50
                                         to be added to real estate asset
                                         analysis.
10/14/21      Christina Tergevorkian     Evaluated Anderson real estate report       1.30   355.00          461.50
                                         provided by State Court counsel.
10/14/21      Christina Tergevorkian     Spoke with BRG (RS) regarding               0.30   355.00          106.50
                                         Anderson report of Parish property
                                         values.
10/15/21      Christina Tergevorkian     Identified missing Parish properties to     1.50   355.00          532.50
                                         be added to Parish real estate analysis.
10/15/21      Christina Tergevorkian     Updated master real estate analysis         1.10   355.00          390.50
                                         before discussing results with BRG
                                         (RS).
10/15/21      Christina Tergevorkian     Evaluated Anderson real estate report       2.50   355.00          887.50
                                         provided by State Court counsel.
10/15/21      Christina Tergevorkian     Verified identified Parish real estate      2.90   355.00         1,029.50
                                         with the Anderson Report for asset
                                         analysis..
10/18/21      Ray Strong                 Discussed Parish real estate analysis       0.40   705.00          282.00
                                         issues with BRG (CT).
10/18/21      Christina Tergevorkian     Examined Parish property                    0.80   355.00          284.00
                                         documentation identified from third
                                         party sources for asset analysis.
10/18/21      Christina Tergevorkian     Spoke with BRG (RS) regarding real          0.40   355.00          142.00
                                         estate analysis of Parish properties.
10/19/21      Amanda Marigliano          Analyzed real estate assessor data for      1.50   400.00          600.00
                                         Diocese affiliates to update real estate
                                         analysis.
10/19/21      Paul Shields               Reviewed status of evaluation               0.30   750.00          225.00
                                         performed in connection with the
                                         Diocese Cemeteries.
10/19/21      Ray Strong                 Discussed further analysis of non-          0.20   705.00          141.00
                                         debtor real estate with BRG (CT).
10/19/21      Ray Strong                 Evaluated ongoing real estate analysis      0.70   705.00          493.50
                                         to develop additional work flows.
10/19/21      Christina Tergevorkian     Evaluated updated real estate analysis      1.50   355.00          532.50
                                         in preparation for meeting with UCC
                                         counsel.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 57 of 78




To: James I Stang                                                                                      Page 31 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

10/19/21      Christina Tergevorkian     Identified Parish properties requiring     0.70   355.00          248.50
                                         additional examination for real estate
                                         analysis.
10/19/21      Christina Tergevorkian     Participated in meeting with BRG (RS)      0.20   355.00            71.00
                                         to discuss non-debtor real estate
                                         analysis.
10/20/21      Amanda Marigliano          Continued to analyze parcels in Suffolk    0.60   400.00          240.00
                                         counties to determine affiliate
                                         ownership.
10/20/21      Amanda Marigliano          Continued to analyze parcels in Nassau     2.40   400.00          960.00
                                         counties to determine affiliate
                                         ownership.
10/20/21      Christina Tergevorkian     Examined Anderson Report to                0.50   355.00          177.50
                                         evaluate differences in BRG real estate
                                         analysis.
10/20/21      Christina Tergevorkian     Analyzed third party county assessor       1.10   355.00          390.50
                                         information for real estate analysis.
10/21/21      Christina Tergevorkian     Examined Parish real estate                2.70   355.00          958.50
                                         differences between BRG analysis and
                                         Anderson Report.
10/21/21      Christina Tergevorkian     Evaluated real estate parcels not          2.00   355.00          710.00
                                         owned by Affiliates to update real
                                         estate analysis.
10/22/21      Amanda Marigliano          Updated real estate analysis with          1.90   400.00          760.00
                                         additional information obtained from
                                         county assessors.
10/22/21      Christina Tergevorkian     Analyzed real estate tax exempt            1.20   355.00          426.00
                                         analysis provided by Debtor relating to
                                         Parish real estate analysis.
10/22/21      Christina Tergevorkian     Examined additional ownership issues       0.30   355.00          106.50
                                         for Parish properties pursuant to real
                                         estate analysis.
10/22/21      Christina Tergevorkian     Identified additional Parish properties    2.20   355.00          781.00
                                         from assessors office data to update
                                         real estate analysis.
10/22/21      Christina Tergevorkian     Identified additional Parish properties    2.90   355.00         1,029.50
                                         in Nassau County for real estate
                                         analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                  Pg 58 of 78




To: James I Stang                                                                                       Page 32 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                   Invoice # 129879
                                                                                                        Client: 21145

Date          Name                       Description                                Hours    Rate          Amount

10/22/21      Christina Tergevorkian     Identified additional Parish properties     1.40   355.00          497.00
                                         in Suffolk County for real estate
                                         analysis.
10/25/21      Alexxi L. Arena            Examined documentation produced by          1.00   350.00          350.00
                                         Debtor regarding Parish real estate.
10/25/21      Christina Tergevorkian     Analyzed real estate data from county       1.40   355.00          497.00
                                         assessor for updates to real estate
                                         analysis.
10/25/21      Christina Tergevorkian     Evaluated Anderson Report for               1.30   355.00          461.50
                                         additional Parish real estate to be
                                         further examined for asset analysis.
10/25/21      Christina Tergevorkian     Analyzed tax exempt binder provided         1.30   355.00          461.50
                                         by Debtor for additional updates to
                                         real estate analysis.
10/26/21      Christina Tergevorkian     Evaluated Anderson Report for               1.00   355.00          355.00
                                         additional Parish real estate in Suffolk
                                         county to be further examined for
                                         asset analysis.
10/27/21      Christina Tergevorkian     Analyzed Parish real estate analysis in     0.50   355.00          177.50
                                         preparation for meeting with UCC
                                         counsel.
10/27/21      Christina Tergevorkian     Identified differences between              1.90   355.00          674.50
                                         Debtor's tax exempt binder and
                                         Andersen Report for Parish properties
                                         in Suffolk county for asset analysis.
10/29/21      Ray Strong                 Attended call with PSZJ (BM) and BRG        0.90   705.00          634.50
                                         (CT) regarding status of Parish real
                                         estate analysis.
10/29/21      Christina Tergevorkian     Attended call with PSZJ (BM) and BRG        0.90   355.00          319.50
                                         (RS) regarding status of Parish real
                                         estate analysis.
10/29/21      Christina Tergevorkian     Updated Parish real estate analysis         0.50   355.00          177.50
                                         with additional information received
                                         by Debtor.
11/04/21      Christina Tergevorkian     Analyzed Seminary property and              1.00   355.00          355.00
                                         related documents pertaining to its
                                         ownership.
11/08/21      Christina Tergevorkian     Analyzed Parish properties identified       1.30   355.00          461.50
                                         in the Anderson Report to evaluate
                                         ownership..
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                  Pg 59 of 78




To: James I Stang                                                                                       Page 33 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                   Invoice # 129879
                                                                                                        Client: 21145

Date          Name                       Description                                Hours    Rate          Amount

11/08/21      Christina Tergevorkian     Analyzed proposed lease agreements          1.30   355.00          461.50
                                         regarding St. Joseph of Babylon for
                                         real estate analysis.
11/09/21      Ray Strong                 Analyzed tax assessor data for Suffolk      2.60   705.00         1,833.00
                                         County properties for asset analysis.
11/09/21      Ray Strong                 Attended call with BRG (CT) regarding       0.60   705.00          423.00
                                         valuations in real estate analysis.
11/09/21      Ray Strong                 Attended call with BRG (CT) to discuss      1.30   705.00          916.50
                                         status of real estate analysis.
11/09/21      Christina Tergevorkian     Attended call with BRG (RS) regarding       0.60   355.00          213.00
                                         valuations in real estate analysis.
11/09/21      Christina Tergevorkian     Attended call with BRG (RS) to discuss      1.30   355.00          461.50
                                         status of real estate analysis.
11/09/21      Christina Tergevorkian     Verified consistency between real           2.70   355.00          958.50
                                         estate data sources for Parish real
                                         estate analysis.
11/09/21      Christina Tergevorkian     Verified real estate with sources from      0.70   355.00          248.50
                                         Debtor, Anderson Report, and county
                                         assessor.
11/09/21      Christina Tergevorkian     Analyzed proposed lease agreement           0.80   355.00          284.00
                                         with St. Martin of Tours sent by
                                         Debtor.
11/10/21      Christina Tergevorkian     Analyzed real estate values for Parish      1.10   355.00          390.50
                                         properties in Nassau County.
11/10/21      Christina Tergevorkian     Analyzed real estate ownership issues       0.90   355.00          319.50
                                         relating to properties referenced as St.
                                         Vincent De Paul/St. Joseph.
11/11/21      Ray Strong                 Analyzed assessor data compiled for         2.40   705.00         1,692.00
                                         real estate asset analysis.
11/11/21      Christina Tergevorkian     Analyzed real estate values for Parish      2.50   355.00          887.50
                                         properties in Nassau County for asset
                                         analysis.
11/11/21      Christina Tergevorkian     Analyzed real estate values for Parish      1.70   355.00          603.50
                                         properties in Nassau County for asset
                                         analysis.
11/11/21      Christina Tergevorkian     Analyzed real estate values for Parish      2.30   355.00          816.50
                                         properties in Babylon/Brookhaven
                                         township for asset analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 60 of 78




To: James I Stang                                                                                     Page 34 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

11/12/21      Christina Tergevorkian     Analyzed real estate values for Parish    1.50   355.00          532.50
                                         properties in East Hampton township
                                         for asset analysis.
11/12/21      Christina Tergevorkian     Analyzed real estate values for Parish    1.40   355.00          497.00
                                         properties in Babylon/Shelter Island
                                         township for asset analysis.
11/12/21      Christina Tergevorkian     Analyzed real estate values for Parish    1.00   355.00          355.00
                                         properties in Islip township for asset
                                         analysis.
11/12/21      Christina Tergevorkian     Analyzed real estate values for Parish    2.30   355.00          816.50
                                         properties in Brookhaven township for
                                         asset analysis.
11/14/21      Christina Tergevorkian     Analyzed real estate values for Parish    1.40   355.00          497.00
                                         properties in Islip township for asset
                                         analysis.
11/14/21      Christina Tergevorkian     Analyzed real estate values for Parish    0.80   355.00          284.00
                                         properties in South Hampton
                                         township for asset analysis.
11/15/21      Shelby Chaffos             Analyzed real estate values for Parish    2.10   300.00          630.00
                                         properties in Southold/Brookhaven
                                         townships for asset analysis.
11/15/21      Ray Strong                 Discussed ongoing real estate analysis    1.10   705.00          775.50
                                         with BRG (CT) in preparation for UCC
                                         meeting.
11/15/21      Christina Tergevorkian     Analyzed real estate values for Parish    1.90   355.00          674.50
                                         properties in Southold townships for
                                         asset analysis.
11/15/21      Christina Tergevorkian     Analyzed real estate values for Parish    2.50   355.00          887.50
                                         properties in Riverhead/South
                                         Hampton townships for asset analysis.
11/16/21      Ray Strong                 Discussed real estate analysis with       0.80   705.00          564.00
                                         BRG (CT) in preparation for UCC
                                         meeting.
11/16/21      Ray Strong                 Examined real estate data obtained        1.30   705.00          916.50
                                         from assessor/townships to
                                         supplement asset analysis.
11/16/21      Christina Tergevorkian     Discussed real estate analysis with       0.80   355.00          284.00
                                         BRG (RS) in preparation for UCC
                                         meeting.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 61 of 78




To: James I Stang                                                                                      Page 35 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

11/16/21      Christina Tergevorkian     Developed Parish real estate materials     2.80   355.00          994.00
                                         for UCC meeting.
11/17/21      Ray Strong                 Analyzed real estate information           0.20   705.00          141.00
                                         compiled for Seminary properties to
                                         address inquires from UCC Counsel.
11/17/21      Ray Strong                 Discussed ongoing real estate analysis     0.30   705.00          211.50
                                         with BRG (CT) in preparation for UCC
                                         meeting.
11/17/21      Ray Strong                 Analyzed real estate tax exempt            1.60   705.00         1,128.00
                                         binders provided by Diocese for asset
                                         analysis.
11/17/21      Christina Tergevorkian     Spoke with BRG (RS) to discussed           0.30   355.00          106.50
                                         Parish real estate analysis.
11/22/21      Ray Strong                 Examined additional real estate            2.90   705.00         2,044.50
                                         information received for analysis
                                         relating to related non-debtors.
11/23/21      Ray Strong                 Developed assignments for                  0.20   705.00          141.00
                                         Cemeteries asset analysis.
11/29/21      Ray Strong                 Analyzed Parish real estate identified     2.80   705.00         1,974.00
                                         through public records sources,
                                         Debtor projections, and Anderson
                                         report.
11/29/21      Ray Strong                 Analyzed Parish asset analysis in          0.90   705.00          634.50
                                         preparation for Committee meeting.
11/30/21      Christina Tergevorkian     Participated in call with BRG (RS) to      0.30   355.00          106.50
                                         discuss Parish asset analysis and
                                         Diocese real estate in preparation with
                                         meeting with the Committee.
12/17/21      Paul Shields               Participated in partial call with UCC      0.40   750.00          300.00
                                         Counsel (KD, MB, GG) and BRG (RS)
                                         regarding issues for consideration and
                                         documents to request in connection
                                         with an assessment of value for the
                                         DRVC cemeteries.
12/17/21      Paul Shields               Outlined follow up issues for              0.20   750.00          150.00
                                         consideration in connection with an
                                         assessment of value for the DRVC
                                         cemeteries.
12/17/21      Ray Strong                 Discussed CemCo transfers with BRG         0.60   705.00          423.00
                                         (PS) and PSZJ (KD, BM, GG).
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24           Main Document
                                                  Pg 62 of 78




To: James I Stang                                                                                   Page 36 of 52
c/o: Pachulski Stang Ziehl & Jones                                                               Invoice # 129879
                                                                                                    Client: 21145

Date          Name                       Description                            Hours    Rate          Amount

12/22/21      Christina Tergevorkian     Reviewed Cemeteries, CemCo,             1.80   355.00          639.00
                                         Charities, Seminary, Telecare, and
                                         Catholic Faith Network financial
                                         statements summary asset analysis.
12/22/21      Christina Tergevorkian     Analyzed Catholic Cemeteries and        2.00   355.00          710.00
                                         CemCo financial statements to create
                                         a comparative balance sheet and
                                         income statement analysis.
12/22/21      Christina Tergevorkian     Analyzed Catholic Cemeteries and        1.30   355.00          461.50
                                         CemCo financial statements to create
                                         a summary asset analysis.
12/23/21      Ray Strong                 Discussed Cemetery perpetual care       0.50   705.00          352.50
                                         analysis with potential expert.
12/23/21      Christina Tergevorkian     Reviewed newly added documents          1.30   355.00          461.50
                                         uploaded to Box as of 12/22/21
                                         relating to owned property.
12/27/21      Christina Tergevorkian     Reviewed Cemeteries, CemCo,             1.40   355.00          497.00
                                         Telecare, and Catholic Faith Network
                                         financial statements summary asset
                                         analysis.
01/04/22      Christina Tergevorkian     Analyzed newly added Parish property    1.80   385.00          693.00
                                         documents on Box.
01/17/22      Paul Shields               Spoke with UCC Counsel (JS, BM, KD,     0.40   765.00          306.00
                                         GG) and BRG (RS) regarding cemetery
                                         valuation issues and associated
                                         document request.
01/17/22      Paul Shields               Conducted further analysis of the       2.30   765.00         1,759.50
                                         Anchin cemetery valuation report.
01/17/22      Ray Strong                 Evaluated additional document           0.50   735.00          367.50
                                         requests for investigation of
                                         Cemetery/CemCo transfers.
01/18/22      Matthew Babcock            Met with BRG (RS, PS, CT) to discuss    0.60   675.00          405.00
                                         cemetery analysis.
01/18/22      Quinn Burnett              Reviewed strategy and next steps for    0.80   330.00          264.00
                                         cemetery evaluation analysis.
01/18/22      Eric Madsen                Reviewed public filings of publicly     1.20   750.00          900.00
                                         traded cemeteries.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 63 of 78




To: James I Stang                                                                                     Page 37 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

01/18/22      Paul Shields               Spoke with BRG (RS, MB, CT) regarding     0.60   765.00          459.00
                                         status of production of accounting
                                         records relating to the cemeteries and
                                         additional accounting production
                                         needed.
01/18/22      Paul Shields               Evaluated tasks to perform in             0.80   765.00          612.00
                                         connection with the valuation of
                                         cemeteries.
01/18/22      Ray Strong                 Discussed Cemeteries/CemCo analysis       0.60   735.00          441.00
                                         with BRG (MB, CT, PS).
01/18/22      Christina Tergevorkian     Participated in meeting with BRG (RS,     0.60   385.00          231.00
                                         MB, PS) to discuss document
                                         production related to Cemetery.
01/19/22      Matthew Babcock            Met with UCC Counsel (BM) and BRG         1.80   675.00         1,215.00
                                         (RS, CT) to discuss valuation and
                                         document production for Cemeteries.
01/19/22      Eric Madsen                Continued review of Anchin valuation;     0.90   750.00          675.00
                                         prepared document request list for
                                         cemeteries valuation; reviewed 10Ks
                                         with respect to perpetual care asset
                                         and liability.
01/19/22      Eric Madsen                Prepared document request list for        1.10   750.00          825.00
                                         cemeteries valuation.
01/19/22      Eric Madsen                Reviewed 10Ks with respect to             0.60   750.00          450.00
                                         perpetual care asset and liability.
01/19/22      Paul Shields               Participated in partial call with UCC     0.40   765.00          306.00
                                         (BM) and BRG (RS, MB, CT) regarding
                                         cemetery valuation issues and
                                         associated document request.
01/19/22      Ray Strong                 Attended weekly status call with PSZJ     1.80   735.00         1,323.00
                                         (BM) and BRG (MB, CT, PS) re:
                                         valuation of cemeteries and document
                                         requests.
01/19/22      Christina Tergevorkian     Participated in meeting with BRG (RS,     1.80   385.00          693.00
                                         MB) and PSZJ (BM) to discuss
                                         document production and Catholic
                                         Cemeteries.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 64 of 78




To: James I Stang                                                                                     Page 38 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

01/21/22      Eric Madsen                Participated in call with BRG (QB, PS)    0.20   750.00          150.00
                                         regarding review of publicly traded
                                         cemeteries and perpetual care
                                         liability.
01/21/22      Paul Shields               Spoke with BRG (EM, QB) regarding         0.20   765.00          153.00
                                         issues for consideration and tasks to
                                         perform in connection with valuation
                                         of cemeteries.
01/21/22      Paul Shields               Updated cemetery valuation                0.20   765.00          153.00
                                         document request.
01/21/22      Christina Tergevorkian     Analyzed lease agreement for St.          0.50   385.00          192.50
                                         Bernard property in order to update
                                         master real estate file.
01/24/22      Christina Tergevorkian     Analyzed lease agreement for St.          0.50   385.00          192.50
                                         Rosalie, St. Joseph Babylon, and Our
                                         Lady of Loretto property in order to
                                         update master real estate file.
01/25/22      Quinn Burnett              Participated in call with BRG (EM) to     0.70   330.00          231.00
                                         discuss valuation strategy..
01/25/22      Eric Madsen                Participated in call with BRG (QB) re:    0.70   750.00          525.00
                                         cemetery valuation and document
                                         request list.
01/25/22      Paul Shields               Spoke with BRG (RS) regarding             0.40   765.00          306.00
                                         valuation considerations for
                                         cemeteries.
01/25/22      Paul Shields               Updated preliminary cemetery              2.10   765.00         1,606.50
                                         valuation document request.
01/25/22      Ray Strong                 Discussed document request for            0.40   735.00          294.00
                                         Diocese cemeteries and CemCo with
                                         BRG (PS).
01/25/22      Ray Strong                 Analyzed available perpetual care fund    0.70   735.00          514.50
                                         experts for cemetery asset analysis.
01/26/22      Paul Shields               Updated preliminary cemetery              0.10   765.00            76.50
                                         valuation document request.
01/26/22      Paul Shields               Remitted preliminary cemetery             0.10   765.00            76.50
                                         valuation document request to UCC
                                         Counsel.
01/26/22      Paul Shields               Developed preliminary cemetery            0.30   765.00          229.50
                                         valuation document request to submit
                                         to Debtor.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 65 of 78




To: James I Stang                                                                                        Page 39 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                         Description                              Hours     Rate          Amount

01/26/22      Ray Strong                   Analyzed document requests for the         0.30   735.00          220.50
                                           Diocese cemeteries and CemCo to
                                           provide to Counsel.
01/27/22      Paul Shields                 Updated preliminary cemetery               0.20   765.00          153.00
                                           valuation document request.
01/31/22      Paul Shields                 Reviewed preliminary valuation             0.20   765.00          153.00
                                           document request for Diocese of
                                           Rockville Centre cemeteries.
01/31/22      Ray Strong                   Analyzed proposed Parish leases sent       1.50   735.00         1,102.50
                                           by Debtor pursuant to noticing
                                           procedures.
01/31/22      Christina Tergevorkian       Analyzed lease agreement for Blessed       1.00   385.00          385.00
                                           Sacrament property in order to update
                                           master real estate file.
01/31/22      Christina Tergevorkian       Reviewed newly added documents             1.00   385.00          385.00
                                           uploaded to Box relating to property
                                           deeds.
                                           Total for Task Code 332.00               171.20                 79,474.00

Task Code: 350.00 - Asset Analysis (Insurance - Debtors)
10/11/21     Ray Strong                    Analyzed audited PSIP financial            0.60   705.00          423.00
                                           statements for Diocese asset analysis.
10/18/21      Ray Strong                   Analyzed balance sheets from PSIP          0.80   705.00          564.00
                                           audited financial statements for asset
                                           analysis.
12/12/21      Ray Strong                   Analyzed post-petition balance sheet       1.10   705.00          775.50
                                           activity for PSIP from Oct 2020
                                           through Oct 2021 for asset analysis.
12/12/21      Ray Strong                   Analyzed prepetition balance sheet         2.50   705.00         1,762.50
                                           activity for PSIP from 2015 through
                                           2020 for asset analysis.
01/31/22      Jennifer Hull                Evaluated PSIP audited financial           1.20   810.00          972.00
                                           statements for information about
                                           funding and reimbursements.
                                           Total for Task Code 350.00                 6.20                  4,497.00

Task Code: 352.00 - Asset Analysis (Insurance - Related Non-Debtors)
10/01/21     Charles Lundelius             Reviewed case documents relating to        0.90 1,100.00          990.00
                                           Ecclesia profitability and NY captive
                                           insurance law.
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                Pg 66 of 78




To: James I Stang                                                                                   Page 40 of 52
c/o: Pachulski Stang Ziehl & Jones                                                               Invoice # 129879
                                                                                                    Client: 21145

Date          Name                     Description                              Hours    Rate          Amount

10/08/21      Ray Strong               Analyzed IAC documentation for            2.60   705.00         1,833.00
                                       Ecclesia documentation to provide to
                                       captive insurance expert.
10/11/21      Jennifer Hull            Reviewed Ecclesia audited financial       0.80   750.00          600.00
                                       statements to respond to queries
                                       about the captive insurance company.
10/12/21      Jennifer Hull            Continued evaluation of Ecclesia case     2.50   750.00         1,875.00
                                       materials produced by Debtor.
10/13/21      Jennifer Hull            Evaluated reserve adequacy for the        2.70   750.00         2,025.00
                                       Ecclesia captive insurance company
                                       for asset analysis.
10/13/21      Charles Lundelius        Analyzed insurance                        1.80 1,100.00         1,980.00
                                       reserves/operations regarding Ecclesia
                                       captive insurance company.
10/19/21      Jennifer Hull            Evaluated premium and loss data for       1.50   750.00         1,125.00
                                       line of business stats.
10/20/21      Jennifer Hull            Continued to develop line of business     1.00   750.00          750.00
                                       data relating to Ecclesia captive
                                       insurance company.
10/20/21      Kaley Johns              Reviewed Ecclesia's audited financial     2.00   380.00          760.00
                                       statements, annual statements, and
                                       other supporting documentation to
                                       create a summary of premium data
                                       from 2016 to 2020.
10/21/21      Jennifer Hull            Examined insurance policies               0.50   750.00          375.00
                                       purchases/issues by the Ecclesia
                                       captive insurance company from 2016
                                       through 2020.
10/21/21      Kaley Johns              Analyzed premiums/losses data for         2.90   380.00         1,102.00
                                       Ecclesia captive insurance company
                                       for 2016-2020.
10/21/21      Kaley Johns              Continued to evaluate                     0.60   380.00          228.00
                                       premiums/losses data for Ecclesia
                                       captive insurance company for 2016-
                                       2020.
10/22/21      Jennifer Hull            Analyzed line of business data for        0.40   750.00          300.00
                                       Ecclesia captive insurance company
                                       for meeting with UCC Counsel.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 67 of 78




To: James I Stang                                                                                      Page 41 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

10/22/21      Kaley Johns                Examined Ecclesia captive insurance        1.50   380.00          570.00
                                         company premiums/losses for asset
                                         analysis.
10/28/21      Jennifer Hull              Attended call with PSZJ (BM, KD, IN)       0.80   750.00          600.00
                                         and BRG (CT, RS) regarding Ecclesia
                                         captive insurance analysis.
10/28/21      Jennifer Hull              Evaluated Ecclesia historical premiums     1.10   750.00          825.00
                                         written and ceded, by line of business.
10/28/21      Ray Strong                 Attended call with PSZJ (BM, KD, IN)       0.80   705.00          564.00
                                         and BRG (JH, CT) regarding Ecclesia
                                         captive insurance analysis.
10/28/21      Christina Tergevorkian     Attended call with PSZJ (BM, KD, IN)       0.80   355.00          284.00
                                         and BRG (JH, RS) regarding Ecclesia
                                         captive insurance analysis.
10/28/21      Christina Tergevorkian     Analyzed documents pertaining to           1.00   355.00          355.00
                                         Ecclesia in preparation for meeting
                                         with PSZJ and BRG insurance team.
11/01/21      Jennifer Hull              Reviewed documentation produced by         0.90   750.00          675.00
                                         Debtor to respond to UCC Counsel
                                         inquiries relating to Ecclesia business
                                         plans/service providers.
11/17/21      Ray Strong                 Analyzed documents produced by             0.70   705.00          493.50
                                         Debtor regarding Ecclesia for asset
                                         analysis.
12/14/21      Ray Strong                 Analyzed Ecclesia financial information    0.80   705.00          564.00
                                         provided by Debtor for Affiliate asset
                                         analysis.
12/17/21      Christina Tergevorkian     Analyzed Ecclesia financial statements     1.50   355.00          532.50
                                         to create a summary asset analysis.
12/23/21      Ray Strong                 Followed up with BRG (JH) regarding        0.20   705.00          141.00
                                         Ecclesia analysis.
01/04/22      Jennifer Hull              Participated in call with BRG (RS) to      0.70   810.00          567.00
                                         discuss draft presentation of Ecclesia
                                         findings to date.
01/04/22      Jennifer Hull              Reviewed Ecclesia case documents for       1.00   810.00          810.00
                                         upcoming discussions with Counsel.
01/04/22      Ray Strong                 Analyzed 2011 RMI report for Ecclesia      0.30   735.00          220.50
                                         for asset analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 68 of 78




To: James I Stang                                                                                     Page 42 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

01/04/22      Ray Strong                 Discussed analysis of Ecclesia assets     0.60   735.00          441.00
                                         with BRG (JH).
01/04/22      Christina Tergevorkian     Reviewed Ecclesia documents from          0.80   385.00          308.00
                                         Everlaw in preparation for analysis.
01/05/22      Jennifer Hull              Drafted presentation of findings about    1.40   810.00         1,134.00
                                         Ecclesia's operations, financials, and
                                         next steps.
01/05/22      Jennifer Hull              Continued to evaluate case materials      1.00   810.00          810.00
                                         about Ecclesia.
01/05/22      Kaley Johns                Created a chart to show Ecclesia's        1.50   440.00          660.00
                                         stockholder's equity from 2005
                                         through 2020.
01/05/22      Christina Tergevorkian     Reviewed Ecclesia documents from          2.50   385.00          962.50
                                         Everlaw in preparation for analysis.
01/06/22      Jennifer Hull              Continued to prepare draft slides         0.80   810.00          648.00
                                         about Ecclesia findings.
01/06/22      Jennifer Hull              Continued to prepare draft slides         2.80   810.00         2,268.00
                                         about Ecclesia findings.
01/06/22      Kaley Johns                Updated Ecclesia stockholder's equity     0.60   440.00          264.00
                                         chart.
01/06/22      Kaley Johns                Reviewed historical sexual abuse          0.90   440.00          396.00
                                         reserves versus actuary
                                         recommendations in Ecclesia's actuary
                                         reports.
01/06/22      Christina Tergevorkian     Continued to review Ecclesia              1.00   385.00          385.00
                                         documents from Everlaw in
                                         preparation for analysis.
01/11/22      Jennifer Hull              Evaluated Ecclesia and PSIP case          1.50   810.00         1,215.00
                                         materials flagged by Counsel.
01/12/22      Jennifer Hull              Continued to evaluate case materials      1.20   810.00          972.00
                                         about DRVC's insurance program, to
                                         develop findings and request list.
01/12/22      Jennifer Hull              Continued to evaluate case materials      2.40   810.00         1,944.00
                                         about DRVC's insurance program, to
                                         develop findings and request list.
01/12/22      Jennifer Hull              Participated in call with Counsel (BM,    0.70   810.00          567.00
                                         KD, IN) and BRG (EM, CT) about
                                         Ecclesia and PSIP findings and
                                         document requests.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 69 of 78




To: James I Stang                                                                                     Page 43 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

01/12/22      Ray Strong                 Analyzed Ecclesia documents               0.60   735.00          441.00
                                         produced by Debtor for asset analysis.
01/12/22      Christina Tergevorkian     Participated in meeting with BRG (EM,     0.60   385.00          231.00
                                         JH) and PSZJ (BM, KD, IN) to discuss
                                         document production relating to
                                         Ecclesia.
01/13/22      Jennifer Hull              Prepared request lists for Counsel re:    1.20   810.00          972.00
                                         Ecclesia and PSIP.
01/14/22      Christina Tergevorkian     Reviewed PSIP audit reports 2006          0.40   385.00          154.00
                                         through 2020 and uploaded
                                         documents onto KiteWorks.
01/31/22      Jennifer Hull              Reviewed Ecclesia and PSIP draft          0.20   810.00          162.00
                                         requests for accuracy and
                                         completeness.
                                         Total for Task Code 352.00               55.00                 36,079.00

Task Code: 390.00 - Asset Analysis (Other - Debtors)
10/08/21     Ray Strong                    Analyzed IAC documentation for          2.30   705.00         1,621.50
                                           Spectrum documentation to provide
                                           to valuation expert.
10/20/21      Ray Strong                 Analyzed documentation obtained           2.70   705.00         1,903.50
                                         from IAC documentation regarding
                                         Broadband Spectrum licenses/leases
                                         owned by Debtor.
10/21/21      Amy Strong                 Analyzed available data pertaining to     0.80   350.00          280.00
                                         FCC Spectrum licenses owned by
                                         Debtor.
10/22/21      Amy Strong                 Analyzed IAC-produced documents for       2.20   350.00          770.00
                                         information pertaining to Telecare and
                                         related FCC licenses.
10/25/21      Ray Strong                 Analyzed documents produced by            1.70   705.00         1,198.50
                                         Debtor relating to Spectrum
                                         licenses/leases.
10/25/21      Amy Strong                 Analyzed IAC-produced documents for       1.30   350.00          455.00
                                         information pertaining to FCC
                                         Spectrum licenses owned by Debtor.
10/25/21      Amy Strong                 Analyzed IAC-produced documents for       2.00   350.00          700.00
                                         information pertaining to
                                         Telecare/CFN tower activity.
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                Pg 70 of 78




To: James I Stang                                                                                   Page 44 of 52
c/o: Pachulski Stang Ziehl & Jones                                                               Invoice # 129879
                                                                                                    Client: 21145

Date          Name                     Description                              Hours    Rate          Amount

10/26/21      Ray Strong               Analyzed documents produced by            2.10   705.00         1,480.50
                                       Debtor relating to Spectrum
                                       licenses/leases.
10/27/21      Ray Strong               Analyzed documents produced by            2.20   705.00         1,551.00
                                       Debtor relating to Spectrum
                                       licenses/leases.
10/28/21      Ray Strong               Examined Spectrum license/lease           0.70   705.00          493.50
                                       valuation issues to coordinate with
                                       BRG valuation team.
11/12/21      Eric Madsen              Attended conference call with BRG         0.20   695.00          139.00
                                       (RS) regarding Spectrum valuation
                                       issues.
11/12/21      Ray Strong               Attended conference call with BRG         0.20   705.00          141.00
                                       (EM) regarding Spectrum valuation
                                       issues.
11/23/21      Ray Strong               Evaluated Spectrum broadband              0.30   705.00          211.50
                                       licenses/leases to provide additional
                                       information to BRG expert.
12/14/21      Eric Madsen              Participated in call with Debtor (TD),    0.70   695.00          486.50
                                       Counsel (KD, BM) and BRG (RS)
                                       regarding Spectrum licenses for asset
                                       analysis.
12/14/21      Eric Madsen              Participated in follow up call with       0.70   695.00          486.50
                                       Counsel (KD, BM) and BRG (RS) to
                                       discuss possible next steps associated
                                       with Spectrum licenses/leases for
                                       asset analysis.
12/14/21      Eric Madsen              Participated in call with BRG (RS) in     0.30   695.00          208.50
                                       preparation for call with Diocese
                                       regarding Spectrum asset analysis.
12/14/21      Eric Madsen              Prepared for call with Diocese by         2.60   695.00         1,807.00
                                       reviewing licensing forms and lease
                                       agreements.
12/14/21      Ray Strong               Discussed Spectrum asset analysis         0.50   705.00          352.50
                                       with PSZJ (KD, BM) in preparation for
                                       call with Debtor.
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                Pg 71 of 78




To: James I Stang                                                                                     Page 45 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                     Description                                Hours    Rate          Amount

12/14/21      Ray Strong               Participated in follow up call PSZJ (KD,    0.70   705.00          493.50
                                       BM) and BRG (EM) to discuss
                                       additional assignments associated
                                       with Spectrum licenses/leases for
                                       asset analysis.
12/14/21      Ray Strong               Attended call with Debtor (TD), PSZJ        0.70   705.00          493.50
                                       (KD, BM), BRG (EM) to discuss
                                       Spectrum licenses/leases for asset
                                       analysis.
12/14/21      Ray Strong               Discussed Spectrum asset analysis           0.30   705.00          211.50
                                       with BRG (EM) in preparation for call
                                       with Debtor.
12/23/21      Ray Strong               Followed up with BRG (EM) regarding         0.20   705.00          141.00
                                       Spectrum analysis.
01/06/22      Eric Madsen              Prepared valuation analysis by              1.30   750.00          975.00
                                       collecting and reviewing financial data.
01/06/22      Eric Madsen              Participated in call with BRG (RS) to       0.50   750.00          375.00
                                       review progress on preliminary
                                       valuation analysis.
01/06/22      Eric Madsen              Prepared valuation analysis by              2.90   750.00         2,175.00
                                       reviewing potential comparable
                                       companies and their financial data.
01/06/22      Ray Strong               Attended call with BRG (EM) regarding       0.60   735.00          441.00
                                       investigation of Spectrum
                                       licenses/leases.
01/07/22      Quinn Burnett            Audited report exhibits for publicly        1.60   330.00          528.00
                                       traded companies that have spectrum.
01/11/22      Eric Madsen              Participated in call with BRG (RS) to       0.30   750.00          225.00
                                       discuss valuation analysis.
01/11/22      Eric Madsen              Reviewed valuation analysis.                0.30   750.00          225.00
01/11/22      Ray Strong               Attended call with BRG (EM) regarding       0.30   735.00          220.50
                                       investigation of Spectrum
                                       licenses/leases.
01/12/22      Eric Madsen              Participated in call with Counsel (BM,      0.70   750.00          525.00
                                       KD, IN) to present preliminary
                                       valuation findings.
01/12/22      Eric Madsen              Updated valuation analysis.                 1.10   750.00          825.00
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 72 of 78




To: James I Stang                                                                                        Page 46 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                         Description                               Hours    Rate          Amount

01/14/22      Ray Strong                   Attended call with PSZJ (BM, KD)           0.70   735.00          514.50
                                           regarding investigation of Spectrum
                                           licenses/leases.
01/21/22      Eric Madsen                  Participated in call with Counsel (BM)     0.50   750.00          375.00
                                           and BRG (RS) regarding next steps for
                                           Catholic Faith Network personnel.
01/21/22      Eric Madsen                  Participated in call with Counsel (BM),    1.10   750.00          825.00
                                           BRG (RS) and representatives from
                                           CFN regarding Spectrum assets and
                                           business.
01/21/22      Eric Madsen                  Prepared for call with Counsel and         1.50   750.00         1,125.00
                                           representatives from CFN regarding
                                           Spectrum assets and business.
01/21/22      Ray Strong                   Discussed information obtained on call     0.40   735.00          294.00
                                           with Catholic Faith Network personnel
                                           with PSZJ (BM) and BRG (EM).
01/21/22      Ray Strong                   Attended call with Jones Day (ES), PSZJ    1.20   735.00          882.00
                                           (BM) and BRG (EM) regarding Catholic
                                           Faith Network.
01/21/22      Ray Strong                   Analyzed Catholic Faith Network case       1.60   735.00         1,176.00
                                           documentation in preparation for call
                                           with Debtor personnel.
                                           Total for Task Code 390.00                42.00                 27,331.50

Task Code: 600.00 - Claims / Liability Analysis (General)
10/11/21     Ray Strong                     Discussed claims/asset comparison for     0.80   705.00          564.00
                                            Parishes with BRG (CT).
10/11/21      Christina Tergevorkian       Spoke with BRG (RS) regarding Parish       0.80   355.00          284.00
                                           claims and asset analysis.
10/11/21      Christina Tergevorkian       Reviewed attorney list of Parish           0.80   355.00          284.00
                                           lawsuits in preparation for analysis.
10/12/21      Christina Tergevorkian       Analyzed Parish claims/assets              1.30   355.00          461.50
                                           comparison for initial evaluation of
                                           substantial contribution.
10/18/21      Christina Tergevorkian       Analyzed Parish claims/asset               2.70   355.00          958.50
                                           comparison for initial substantial
                                           contribution analysis.
10/18/21      Christina Tergevorkian       Continued to evaluate Parish               2.20   355.00          781.00
                                           claims/asset comparison for initial
                                           substantial contribution analysis.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24             Main Document
                                                  Pg 73 of 78




To: James I Stang                                                                                     Page 47 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                       Description                              Hours    Rate          Amount

10/19/21      Ray Strong                 Participated in meeting with BRG (CT)     1.00   705.00          705.00
                                         and PSZJ (BM) to discuss Parish
                                         claims/asset analysis.
10/19/21      Christina Tergevorkian     Evaluated Parish claims/assets for        1.70   355.00          603.50
                                         preliminary substantial contribution
                                         analysis.
10/19/21      Christina Tergevorkian     Participated in meeting with BRG (RS)     1.00   355.00          355.00
                                         and PSZJ (BM) to discuss Parish
                                         claims/asset analysis.
10/19/21      Christina Tergevorkian     Consolidated Parish schools/cemetery      1.70   355.00          603.50
                                         assets for claims/asset analysis.
10/19/21      Christina Tergevorkian     Examined Parish claims to updated         1.30   355.00          461.50
                                         claims/asset analysis.
10/20/21      Christina Tergevorkian     Examined claims by Parish for             2.80   355.00          994.00
                                         claims/asset comparison relating to
                                         preliminary substantial contribution
                                         evaluation.
10/21/21      Christina Tergevorkian     Examined claims by Parish/schools for     1.60   355.00          568.00
                                         preliminary substantial contribution
                                         evaluation.
10/21/21      Christina Tergevorkian     Developed additional work flows for       0.30   355.00          106.50
                                         claims analysis for claims/asset
                                         comparison.
10/27/21      Christina Tergevorkian     Analyzed lawsuit data provided by         1.60   355.00          568.00
                                         UCC counsel for Parish/Schools claims
                                         analysis.
10/29/21      Christina Tergevorkian     Updated Parish claims analysis with       0.50   355.00          177.50
                                         additional information obtained from
                                         UCC Counsel.
11/01/21      Christina Tergevorkian     Updated Parish claims analysis with       0.30   355.00          106.50
                                         additional information obtained from
                                         UCC Counsel.
11/02/21      Christina Tergevorkian     Updated Parish claims analysis with       0.20   355.00            71.00
                                         additional information obtained from
                                         UCC Counsel.
11/15/21      Christina Tergevorkian     Discussed ongoing real estate analysis    1.10   355.00          390.50
                                         with BRG (RS) in preparation for UCC
                                         meeting.
11/15/21      Christina Tergevorkian     Analyzed Parish claims for analysis to    1.80   355.00          639.00
                                         provide to UCC counsel.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 74 of 78




To: James I Stang                                                                                        Page 48 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                        Description                                Hours    Rate          Amount

11/16/21      Christina Tergevorkian      Verified Parish claims analysis in          0.60   355.00          213.00
                                          preparation for discussions with BRG
                                          (RS).
11/16/21      Christina Tergevorkian      Analyzed Parish claims to                   0.70   355.00          248.50
                                          development initial materials for UCC
                                          meeting.
11/17/21      Christina Tergevorkian      Updated Parish claims/asset analysis        1.10   355.00          390.50
                                          to include additional Parish data.
11/17/21      Christina Tergevorkian      Evaluated Parish claims/asset analysis      0.20   355.00            71.00
                                          to be sent to UCC Counsel.
11/18/21      Christina Tergevorkian      Updated Parish claims/asset analysis        2.30   355.00          816.50
                                          pursuant to UCC Counsel review.
11/19/21      Christina Tergevorkian      Updated Parish claims/asset analysis        1.50   355.00          532.50
                                          regarding additional information
                                          received for properties pursuant to
                                          Diocese requests.
01/13/22      Jeffrey Shaw                Evaluated updated claims filed against      0.30   565.00          169.50
                                          Debtor.
                                          Total for Task Code 600.00                 32.20                 12,124.00

Task Code: 1020.00 - Meeting Preparation & Attendance
10/27/21     Alexxi L. Arena             Participated in update call with UCC         0.50   350.00          175.00
                                         Counsel (KD, BM) and BRG (MB, RS,
                                         CT) regarding asset analysis and
                                         document requests.
10/27/21      Matthew Babcock             Met with UCC Counsel (KD, BM) and           0.50   655.00          327.50
                                          BRG (RS, CT, AA) to discuss case issues.
10/27/21      Ray Strong                  Attended weekly status call with PSZJ       0.50   705.00          352.50
                                          (KD, BM) and BRG (MB, CT, AA) to
                                          review work streams.
10/27/21      Christina Tergevorkian      Participated in meeting with BRG (RS,       0.50   355.00          177.50
                                          MD, AA) and PSZJ (KD, BM) to discuss
                                          document requests, asset analyses
                                          and other case issues.
11/30/21      Ray Strong                  Attended UCC Committee meeting              1.30   705.00          916.50
                                          with PSZJ (JS, KD, BM), BRG (CT),
                                          Committee members, and State Court
                                          counsel.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24              Main Document
                                                  Pg 75 of 78




To: James I Stang                                                                                      Page 49 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                  Invoice # 129879
                                                                                                       Client: 21145

Date          Name                       Description                               Hours    Rate          Amount

11/30/21      Ray Strong                 Analyzed updated case analyses in          1.50   705.00         1,057.50
                                         preparation for meeting with UCC,
                                         Counsel, and BRG.
11/30/21      Christina Tergevorkian     Participated in meeting with the           1.30   355.00          461.50
                                         Committee, PSZJ (JS, JD, BM) and BRG
                                         (RS) to discuss Parish asset analysis
                                         and real estate analysis.
12/01/21      Ray Strong                 Attended weekly status call with PSZJ      0.60   705.00          423.00
                                         (KD, BM) and BRG (CT).
12/01/21      Christina Tergevorkian     Participated in meeting with BRG (RS)      0.60   355.00          213.00
                                         and PSZJ (KD, BM) to discuss asset
                                         investigation check-in.
12/08/21      Matthew Babcock            Participated in partial call with UCC      0.50   655.00          327.50
                                         Counsel (BM, KD) and BRG (RS, CT) to
                                         discuss asset analysis/case issues.
12/08/21      Ray Strong                 Attended weekly status call with PSZJ      0.60   705.00          423.00
                                         (BM, KD) and BRG (MB, CT).
12/08/21      Christina Tergevorkian     Participated in meeting with BRG (BM,      0.60   355.00          213.00
                                         KD) and PSZJ (MB, CT) to discuss
                                         Diocese asset analysis and other case
                                         issues.
12/12/21      Ray Strong                 Evaluated preliminary asset analysis in    0.30   705.00          211.50
                                         preparation for UCC meeting.
12/13/21      Eric Madsen                Analyzed Spectrum documentation            0.90   695.00          625.50
                                         provided by Debtor in preparation for
                                         meeting with Debtor.
12/13/21      Ray Strong                 Prepared Committee presentation            2.20   705.00         1,551.00
                                         regarding Diocese assets in
                                         preparation for Committee meeting.
12/13/21      Christina Tergevorkian     Analyzed Diocese asset analysis in         1.00   355.00          355.00
                                         preparation for Committee meeting.
12/14/21      Matthew Babcock            Attended Committee meeting                 1.80   655.00         1,179.00
                                         including presentation of asset
                                         analysis.
12/14/21      Ray Strong                 Evaluated preliminary asset analysis in    0.40   705.00          282.00
                                         preparation for UCC meeting.
12/14/21      Ray Strong                 Attended weekly Committee meeting          1.80   705.00         1,269.00
                                         to discuss Diocese assets.
   20-12345-scc         Doc 1012       Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                  Pg 76 of 78




To: James I Stang                                                                                        Page 50 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                    Invoice # 129879
                                                                                                         Client: 21145

Date          Name                         Description                               Hours    Rate          Amount

12/14/21      Christina Tergevorkian       Participated in Committee meeting to       1.80   355.00          639.00
                                           discuss Diocese asset analysis.
12/21/21      Ray Strong                   Discussed upcoming Committee               0.30   705.00          211.50
                                           meeting schedule with PSZJ (BM).
01/05/22      Matthew Babcock              Met with UCC Counsel (BM, KD) and          1.00   675.00          675.00
                                           BRG (RS, CT) to discuss asset analyses.
01/05/22      Ray Strong                   Attended weekly status call with PSZJ      1.00   735.00          735.00
                                           (BM, KD) and BRG (CT, MB).
01/05/22      Christina Tergevorkian       Participated in meeting with BRG (RS,      1.00   385.00          385.00
                                           MB) and PSZJ (BM, KD) to discuss
                                           document production and real estate
                                           documents.
01/06/22      Matthew Babcock              Participated in a portion of a meeting     0.30   675.00          202.50
                                           with Rock Creek (JS) and BRG (RS) to
                                           discuss pension issues.
01/06/22      Ray Strong                   Discussed pension liability issues with    0.60   735.00          441.00
                                           BRG (MB) and Rock Creek (JS).
01/12/22      Ray Strong                   Attended weekly status call with PSZJ      1.10   735.00          808.50
                                           (BM, KD) and BRG (CT).
01/12/22      Christina Tergevorkian       Participated in meeting with BRG (RS)      1.10   385.00          423.50
                                           and PSZJ (BM, KD) to discuss
                                           document production and asset
                                           analysis.
                                           Total for Task Code 1020.00               25.60                 15,061.50

Task Code: 1030.00 - Mediation Preparation & Attendance
10/18/21     Matthew Babcock             Attended meeting with UCC Counsel            1.00   655.00          655.00
                                         (JS, KD, BM, IS) and BRG (RS) to discuss
                                         mediation issues.
10/18/21      Ray Strong                   Attended meeting with PSZJ (JS, IS,        1.00   705.00          705.00
                                           BM, KD) and BRG (MB) in preparation
                                           for initial mediation session with
                                           Mediator.
10/19/21      Matthew Babcock              Attended pre-mediation session with        1.40   655.00          917.00
                                           Mediator, UCC Counsel (JS, IN, KD,
                                           BM), insurance counsel (TB, JB) and
                                           BRG (RS).
10/19/21      Matthew Babcock              Met with BRG (RS) to discuss               1.60   655.00         1,048.00
                                           mediation issues including ongoing
                                           asset analyses.
   20-12345-scc         Doc 1012      Filed 03/15/22 Entered 03/15/22 21:02:24                Main Document
                                                 Pg 77 of 78




To: James I Stang                                                                                       Page 51 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                   Invoice # 129879
                                                                                                        Client: 21145

Date          Name                        Description                               Hours    Rate          Amount

10/19/21      Ray Strong                  Attended call with BRG (MB)to              1.60   705.00         1,128.00
                                          discussed ongoing asset analyses in
                                          preparation for first mediation
                                          session.
10/19/21      Ray Strong                  Attended pre-mediation session with        1.40   705.00          987.00
                                          Mediator, PSZJ (JS, IN, BM, KD), BRG
                                          (MB), and insurance experts (TB, JB).
10/19/21      Ray Strong                  Evaluated first mediation session          0.40   705.00          282.00
                                          results to develop additional
                                          assignment for BRG team.
10/19/21      Ray Strong                  Examined asset analyses in                 1.70   705.00         1,198.50
                                          preparation for first mediation
                                          session.
                                          Total for Task Code 1030.00               10.10                  6,920.50

Task Code: 1060.00 - Fee Application Preparation & Hearing
10/14/21     Hannah Henritzy             Evaluated June - Sept Interim Fee           2.90   155.00          449.50
                                         Application.
10/14/21      Hannah Henritzy             Continued to evaluate the June - Sept      0.40   155.00            62.00
                                          Interim Fee Application.
10/18/21      Hannah Henritzy             Prepared June-September interim fee        1.70   155.00          263.50
                                          application.
10/19/21      Hannah Henritzy             Prepared the June - Sept Interim Fee       2.30   155.00          356.50
                                          Application.
10/20/21      Hannah Henritzy             Reviewed the June - Sept Fee               0.50   155.00            77.50
                                          Application.
10/22/21      Hannah Henritzy             Prepared the June - Sept Fee               2.90   155.00          449.50
                                          Application.
10/22/21      Hannah Henritzy             Continued to prepare the June - Sept       2.60   155.00          403.00
                                          Fee Application.
10/25/21      Hannah Henritzy             Prepared the June - Sept Fee               1.80   155.00          279.00
                                          Application.
10/25/21      Ray Strong                  Evaluated draft June - Sept interim fee    0.30   705.00          211.50
                                          application.
10/26/21      Ray Strong                  Provided comments to draft June -          0.70   705.00          493.50
                                          Sept fee application.
10/29/21      Ray Strong                  Evaluated updates relating to June-        0.30   705.00          211.50
                                          Sept fee application.
   20-12345-scc         Doc 1012     Filed 03/15/22 Entered 03/15/22 21:02:24               Main Document
                                                Pg 78 of 78




To: James I Stang                                                                                     Page 52 of 52
c/o: Pachulski Stang Ziehl & Jones                                                                 Invoice # 129879
                                                                                                      Client: 21145

Date          Name                     Description                               Hours     Rate          Amount

11/01/21      Meagan B. Haverkamp      Edited June-Sept interim fee                0.90   275.00          247.50
                                       application.
11/01/21      Ray Strong               Prepared additional narrative for June-     0.50   705.00          352.50
                                       Sept fee application.
11/01/21      Ray Strong               Evaluated updates relating to June-         0.60   705.00          423.00
                                       Sept fee application.
                                       Total for Task Code 1060.00                18.40                  4,280.00

Professional Services                                                            729.50               358,313.00
